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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA             CLERK, U.S. DISTRiCT COURl
                                  RICHMOND DIVISION                       RICHMOND. VA       ^

UNITED STATES OF AMERICA ejc rel                 CIVIL ACTION NO. ^                                    I
MICHELLE O'CONNOR,
                                                 JURY TRIAL DEMANDED
                    Plaintiffs,

       V.                                        FILED UNDER SEAL
                                                 As required by 31 U.S.C. § 3730(b)(2)
NATIONAL SPINE AND PAIN CENTERS, LLC,
THE CENTER FOR PAIN MANAGEMENT, LLC,             DO NOT ENTER ON PUBLIC
PHYSICAL MEDICINE ASSOCIATES, LTD.,              DOCKET OR PLACE IN PRESS BOX
NATIONAL SPINE AND PAIN CENTERS
  HOLDINGS, LLC,
MANHATTAN SPINE & PAIN MEDICINE, P.C.,
NEW YORK PAIN CONSULTANTS LLC,
SENTINEL CAPITAL PARTNERS, LLC,
PRABAAL BOBBY DEY, MD,
MICHAEL J. FABIAN,
MAYO F. FRIEDLIS, MD,
ASSAF T. GORDON, MD,
DAVID S. LOBEL,
MARC LOEV, MD,
PAUL F. MURPHY,
DOUGLAS W. WISOR, MD, and
LESTER A. ZUCKJERMAN, MD,

                    Defendants.


                                     COMPLAINT
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                                L NATURE OF THE ACTION

        1.     Plaintiffrelator Michelle O'Connor ("Relator") brings this qui tarn action on

behalf ofthe United States ofAmerica under the federal False Claims Act ("FCA"), 31 U.S.C.
§§ 3729 et seq., against National Spine and Pain Centers, LLC ("NSPC"), The Center for Pain

Management, LLC ("CFPM"), Physical Medicine Associates, Ltd. ("Capitol Spine"), National
Spine and Pain Centers Holdings, LLC ("NSPC Holdings"), Manhattan Spine & Pain Medicine,

P.C. ("Manhattan Spine"), andNew York PainConsultants LLC ("New York Spine")

(collectively, "National Spine" or the "Company") as well as the controlling owner of National

Spine, Sentinel Capital Partners, LLC ("Sentinel") andNational Spine'sBoard of Directors,

which consists of the Company's principal owners and most senior executives, including Prabaal

Bobby Dey, MD ("Dey"), Michael Fabian ("Fabian"), Mayo F. Friedlis, MD ("Friedlis"), Assaf

T. Gordon, MD ("Gordon"), David Lobel ("Lobel"), Marc Loev, MD ("Love"), Paul Murphy

("Murphy"), Douglas W. Wisor, MD ("Wisor"), and Les A. Zuckerman, MD ("Zuckerman")

(collectively, the "Board of Directors" or the "Board"), to recover treble damages andcivil

penalties for knowingly presenting, causing to be presented, and/or conspiring to present false

claims for payment to the Medicare program, TRICARE program. Federal Employees Health

Benefits Program, andFederal Employees' Compensation Program (collectively, the

"government healthcareprograms").

       2.      National Spine's core business is providing non-surgical pain management

services, suchas pain injections, opioid therapy, and otherprocedures to relieve back, neck, and

jointpain, through a staffof over 100 healthcare providers who see patients in over 40 offices

located in the District of Columbia, Maryland, NewJersey, New York, Virginia, and West
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Virginia. National Spine derives over 50% of its revenue from the government healthcare

programs.


        3.     National Spine's Board, which consists of its founders and principal owners,

including several physicians and three businessmen from private equity firm. Sentinel,who lack

any formal medical training, closely manages the chain of pain management clinics, which is one

of the largest - if not the largest - in the country. This group of entrepreneurialdoctors and

financiers, who joined together in early 2012, share a common objective- to maximizeNational

Spine's profits and, correspondingly, the return on their investments. With a myopic focus on

maximizing profits and the return on their investments, defendants have constructed a business

platformthat functions to generate as much revenue from each patient visit as possible, even

going so far as cheating and defrauding patients and their insurers, includingthe government

healthcare programs. For instance. National Spinehas been substantially overcharging the

government for services that its physician assistants and nurse practitioners (hereinafter

collectively referred to as "mid-level providers") fiimish to beneficiaries of the government

healthcare programs. In addition, to fraudulently boost its profits. National Spine requires its

employees to furnish medical servicesand ancillary services that are unnecessary, worthless,

and, in some cases, even harmful to patients. Additionally, there are multiple other fraudulent

and illegal practices occurring at National Spine to drive profits and its owners' return on their

investments. In short, National Spine's Board is placing profits and investment returns before

honesty, appropriate patientcare, and patientand publicsafety. Before merging withNational

Spine in March2012, Capitol Spine, underthe leadership of defendants Friedlis, Gordon and

Wisor, similarly engaged in many of these samefraudulent schemes andpractices.
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          4.   Relator estimates that, through their systematic and pervasive fraudulent biUing

practices.National Spine, led by Sentinel and its Board of Directors, and Capitol Spine have

defraudedthe United States and taxpayers out oftens of millions of dollars.

                               11. JURISDICTION AND VENUE

          5.   Jurisdiction is founded upon the FCA, 31 U.S.C. §§ 3732(a) and (b), and also 28

U.S.C. §§ 1331 and 1345.

          6.   Venue is proper in the Eastern District of Virginia under 31 U.S.C. § 3732(a), and

sufficient contacts exist for jurisdictionin that many of the acts complained of occurred in this

District and certain defendants maintain offices and/or transact business in this District.

                                          III. PARTIES


          7.   The United States of America is the real party in interest to the claims of this

action.


          8.   Plaintiff relator Michelle O'Connor ("Relator") is a United States citizen and

resides in Fredericksburg, Virginia. Relator holds a bachelor of science in physician assistant

studies and a masterof health administration and has been a boardcertified physician assistant

since 2003. Relator also served as an officer in the United States Army from 1989 to 1998. From

March2010to March 2012, Relator was employed by defendant Capitol Spine. After Capitol

Spine and NSPC merged in March2012, Relatorworked for the combined Company until June

3,2013. Throughouther tenure working with these defendants, Relator served as a physician

assistant, underthe supervision of defendant Wisor, at the offices located in Fredericksburg,

Virginia (the "Fredericksburg office") and Glen Allen, Virginia (the"Glen Allen office"). More

particularly, from April 2010 to September 2012, Relator worked underWisor's supervision at

the Glen Allen office every Monday and Wednesday and at the Fredericksburg office every
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Tuesday, Thursday, and Friday. Thereafter, from September 2012 to June 2013, Relator worked

Monday through Friday under Wisor's supervision at the Fredericksburg office. Inasmuch as

Relator's workstation was directly outside of Wisor's office, she knew when he was present in

the office and could also frequently hear the meetings and discussions occurringinside his office.

Wisor terminated Relator in June 2013 for complaining about the unlawfulpractices alleged

below.


         9.    Defendant National Spine and Pain Centers, LLC (d/b/a National Spine & Pain

Centers) ("NSPC"), a Delaware limited liability company, owns and operates medical practices

that focus on providing non-surgical pain managementservices. NSPC maintains its principal

offices at 11921 RockvillePike, Suite 505, Rockville, Maryland 20852. NSPC is an affiliate of

defendants CFPM, Capitol Spine, NSPC Holdings, Manhattan Spine, and New York Spine,

         10.   Defendant The Center for Pain Management, LLC (also d^/a The Spine Center as

well as National Spine & Pain Centers) ("CFPM"), a Maryland limited liability company, owns

and operates medical practices that focus on providing non-surgical pain management services.

CFPM maintains its principal offices at 11921 Rockville Pike, Suite 505, Rockville, Maryland

20852. CFPM is an affihate of defendants NSPC, Capitol Spine, NSPC Holdings, Manhattan

Spine, and New York Spine.

         11.   Defendant Physical Medicine Associates, Ltd. (d/b/a Capitol Spine & Pain

Centers and National Spine & Pain Centers) ("Capitol Spine"), a Virginia corporation, owns and

operates medical practices that focus on providing non-surgicalpain managementservices.

Capitol Spine maintains an office at 3031 Javier Road, Suite 210, Fairfax, Virginia 22031.

Capitol Spine merged with NSPC and CFPM in March 2012 (the "Merger"). Capitol Spine is

also an affiliate of defendants NSPC Holdings, Manhattan Spine, and New York Spine. Before
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the Merger, Mayo Friedlis, MD, served as Capitol Spine's Chief Executive Officer and

President, Douglas Wisor, MD, oversaw accounting and marketing, and Assaf Gordon, MD,

oversaw billing, compliance, and physician assistants. Before the Merger, Capitol Spine's

principal offices were located at 3031 Javier Road, Suite 210, Fairfax, Virginia 22031.

        12.    Defendant National Spine and Pain Centers Holdings, LLC ("NSPC Holdings"), a

Delaware limitedliability company, owns and operates defendants NSPC, CFPM, and Capitol

Spine. NSPC Holdingsmaintains its principal offices at 11921 Rockville Pike, Suite 505,

Rockville, Maryland 20852. NSPC Holdings is also an affiliate or owner of defendants

Manhattan Spine and New York Spine.

       13.     Defendant Manhattan Spine & Pain Medicine, P.C. ("Manhattan Spine"), a New

Yorkprofessional corporation, owns and operates medical practices that focus on providing non-

surgical pain management services. Manhattan Spine maintains an office at 115 East 57th Street,

Suite 610, New York, New York 10022. In 2013, Manhattan Spine was acquiredby or became

affiliated withNSPC or NSPC Holdings. Manhattan Spine is also an affiliate of CFPM, Capitol

Spine, and New York Spine.

       14.     DefendantNew York Pain Consultants LLC (d/b/a New York Spine & Pain

Physicians) ("NewYork Spine"), a New Yorklimited liability company, owns and operates

medical practices that focus on providingnon-surgical pain management services. New York

Spine maintains an office at 500 West Main Street, Suite 116, Babylon, New York 11702. In

December 2012, New York Spine was acquired by or became affiliated with NSPC or NSPC

Holdings. New York Spine is also an affiliate of CFPM, Capitol Spine, andManhattan Spine.

       15.    Defendants NSPC, CFPM, Capitol Spine, NSPC Holdings, Manhattan Spine, and

New York Spine are collectively referred to herein as "National Spine." The financial and
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operational management, supervision, control, and reporting by and betweenNSPC, CFPM,

Capitol Spine, NSPC Holdings, Manhattan Spine, and New York Spine has been so inextricably

intertwined that in effect theyhave functioned as one single entity. National Spine is oneof the

largest chains - if not the largest chain - of non-surgical pain management practices in the

United States, employing approximately 100 healthcare practitioners and operating

approximately 40 pain management clinics across the District of Columbia, Maiyland, New

Jersey, New York, Virginia, and WestVirginia, including in the following locations:

 •    Washington, D.C.           •   Waldorf, MD                   •   Front Royal, VA
 •    Bel Air, MD                •   White Marsh, MD               •   Glen Allen, VA
 •    Bowie, MD                  •   Edison, NJ                    •   Harrisonburg, VA
 •    Chevy Chase, MD            •   Jackson, NJ                   •   Haymarket, VA
 •    Clinton, MD                •   South Amboy, NJ               •   Lansdowne, VA
 •    Columbia, MD               •   Babylon, NY                   •   Lynchburg, VA
 •    Cumberland, MD             •   Babylon Village, NY           •   Manassas, VA
 •    Frederick, MD              •   Bay Shore, NY                 •   McLean, VA
 •    Germantown, MD             •   Manhattan, NY                 •   Mt. Vemon, VA
 •    Glen Bumie, MD             •   New Hyde Park, NY             •   Reston, VA
 •    Greenbelt, MD              •   Alexandria, VA                •   Richmond, VA
 •    Hagerstown, MD             •   Arlington, VA (Ballston)      •   Roanoke, VA
 •    National Harbor, MD        •   Arlington, VA (Shirlington)   • Tysons Comer, VA
 •    Pikesville, MD             •   Centreville, VA               • Winchester, VA
 •    Rockville, MD              •   Fairfax, VA                   • Woodbridge, VA
 •    Silver Spring, MD          •   Fredericksburg, VA            • Martinsburg, WV

National Spine maintains its principal offices at 11921 Rockville Pike, Suite 505, Rockville,

Maryland 20852.

         16.   Defendant Sentinel Capital Partners, LLC ("Sentinel"), a Delaware limited

liability company, is a private equity firm that maintains its principal offices at 330 Madison

Avenue, 27th Floor, New York, New York 10017, Sentinelacquireda controlling interest in

NSPC Holdings and/orNSPCthrough a recapitalization that occurred on or about September 27,

2011 after whichSentinel and NSPC promptly expanded NSPC's business through a series of
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mergers and acquisitions, including Capitol Spine (on or about March 23,2012), New York

Spine (in December2012), and Manhattan Spine (in 2013). As a result of its controlling

ownership interest in National Spine, Sentinelhas three seats on National Spine's Board.

        17.    Defendant Prabaal Bobby Dey, MD, ("Dey") resides in Maryland and practiced

pain management medicine at National Spine's Rockville, Maryland officeuntil January 2013.

Dey was a co-founder of CFPM and NSPC and was a member ofNational Spine's Board of

Directors until January 2013.

       18.     Defendant Michael J. Fabian ("Fabian") is a partner of Sentinel and is a member

of National Spine's Board of Directors. Fabian holds a master of arts in economics and also

holds the chartered financial analyst designation.

       19.     DefendantMayo F. Friedlis, MD, ("FriedUs") resides in Virginia and practices

pain management medicine at National Spine's Chevy Chase, Maryland and Tysons Comer,

Virginiaoffices. Friedlis was a co-founder of Capitol Spine and is currently a memberof

National Spine's Board of Directors.

       20.     Defendant Assaf T. Gordon, MD, ("Gordon") resides in Maryland and practices

pain management medicine at National Spine's Arlington, Virginia (Shirlington) and

Washington, D.C. offices. Gordon was a co-founder of Capitol Spine and is currently a member

of National Spine's Board of Directors.

       21.     Defendant David S. Lobel ("Lobel") is the managing partner of Sentinel and is a

member ofNational Spine's Board of Directors. Lobel holds an MBA.

       22.     Defendant Marc Loev, MD, ("Loev") resides in Maryland and serves as National

Spine'sDirector of Strategic Initiatives andis also the Vice Chairman of National Spine'sBoard

of Directors. Loev was a co-founder of CFPM and NSPC.
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       23.      Defendant Paul F. Murphy ("Murphy") is a partner of Sentinel and is a member of

National Spine's Board of Directors. Murphy holds an MBA.

       24.      Defendant Douglas W. Wisor, MD, ("Wisor") resides in Virginia and practices

pain management medicine at National Spine's Fredericksburg and Glen Allen offices. Wisor

was a co-founder of Capitol Spine and is currently the Vice Chairman of National Spine's Board

of Directors as well as its Chief DevelopmentOfficer. Also, Wisor served as the President of

National Spine from spring 2012 until early 2014.

       25.      Lester A. Zuckerman, MD, ("Zuckerman") resides in Maryland and practices pain

management medicine at National Spine's Rockville, Maryland office. Zuckerman was a co-

founder of CFPM andNSPC and is currently a member of National Spine's Board of Directors.

       26.      Defendants Prabaal Bobby Dey, MD, Michael Fabian, Mayo F. Friedlis, MD,

Assaf T. Gordon, MD, David Lobel, Marc Loev, MD, Paul Murphy, Douglas W. Wisor, MD,

and Les A. Zuckerman, MD, are collectively referred to herein as the "Board of Directors" or the

"Board."Defendants National Spine and Pain Centers, LLC, The Centerfor Pain Management,

LLC, Physical Medicine Associates, Ltd.,National Spine and Pain Centers Holdings, LLC,

Manhattan Spine & PainMedicine, P.C., New York Pain Consultants LLC, Sentinel Capital

Partners, LLC, Prabaal Bobby Dey, MD, Michael Fabian, Mayo F. Friedlis, MD, Assaf T.

Gordon, MD, David Lobel, Marc Loev, MD, Paul Murphy, Douglas W. Wisor, MD, and Les A.

Zuckerman, MD, are collectively referred to herein as the "Defendants."

                                IV. LEGAL FRAMEWORK

A.     The False Claims Act

       27.     The FCA provides, in relevant part, that any person who:

       (A) knowingly presents, or causes to be presented, a false or fraudulent claim for
             payment or approval;
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        (B) knowingly makes, uses, or causes to be made or used, a false record or
            statement material to a false or fraudulent claim;

        (C) conspires to commit a violation of subparagraph (A), (B)... or (G); [or]
                                                 ***


       (G) knowingly makes, uses, or causes to be made or used, a false record or
           statement material to an obligation to pay or transmit money ... to the
           Government, or knowingly conceals or knowingly and improperly avoids or
           decreases an obligation to pay or transmit money ... to the Government,

       is liable to the United States Government for [statutory damages and such
       penalties as are allowed by law].

31 U.S.C. §§ 3729(a)(l)(A)-(C), (G).

       28.     Section 3729(a)(1) ofthe FCA provides that a person is liable to the United States

Government for three times the amount of damages that the Government sustains because of the

act of that person, plus a civil penalty of $5,000 to $10,000 per violation. Pursuant to the Federal

Civil Penalties InflationAdjustment Act of 1990,as amended by the Debt Collection

ImprovementAct of 1996, 28 U.S.C. § 2461, 64 Fed. Reg. 47099,47103 (1999), and 28 C.F.R. §

85.3, the FCA's civil penaltieswere adjusted to $5,500 to $11,000 for violations occurring on or

after September 29,1999.

       29.     The terms "knowing"and "knowingly" are defined at 31 U.S.C. § 3729(b)(1)(A)

to mean that a person who, with respect to information:

       (i) has actual knowledge of the information;

       (ii) acts in deliberate ignorance of the truth or falsity of the information; or

       (iii) acts in reckless disregard ofthe truth or falsity of the information.

No proof of specificintentto defraud is required. See 31 U.S.C. § 3729(b)(1)(B).
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B.     The Medicare Program

       30.     The United States, through the Department of Health and Human Services

("HHS"), administers the Supplementary Medical Insurance Program for the Aged and Disabled

established by Part B, Title XVIII, of the Social Security Act, 42 U.S.C. §§ 1395 et seq.

("Medicare"). The Centers for Medicare and Medicaid Services ("CMS") is part of HHS and is

directly responsible for the administration of the Medicare Program.

       31.     Entitlement to Medicare is based on age, disability, or affliction with end-stage

renal disease. 42 U.S.C. §§ 426,426A. Part A of the Medicare Program covers surgical

procedures performed in the hospital setting, while Part B of the Medicare Program authorizes

payment of federal funds for medical and other health services, including physician services,

laboratory services, outpatient therapy, diagnostic services, and radiology services.

       32.     Medical necessity is a fundamental requirement for Medicare coverage. Medicare

does not cover any expenses incurred for items or services that "are not reasonable and necessary

for the diagnosis or treatment of illness or injury ...." 42 U.S.C. § 1395y(a)(l)(A); Medicare

Benefits Policy Manual, ch. 16 § 20 (Rev. 1,10-01-03).

C.     The TRICARE Program

       33.     TRICARE (formerly known as CHAMPUS) is a health care program of the

United States Department of Defense that provides medical insurance for healthcare services

furnished by civilian providers, physicians, and suppliers to active duty service members,

National Guard and Reserve members, retirees, their families, survivors, and certain former

spouses.


       34.     TRICARE's prerequisites for reimbursement are generally analogous to those of

the Medicare program. TRICARE covers only medically necessary services and supplies.




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TRICARE defines medically necessary care as services or supplies provided by a hospital,

physician, and/orotherprovider for the prevention, diagnosis, and treatment of an illness, when

those services or supplies are determined to be consistent wiihthe condition, illness, or injury;

provided in accordance with approved and generally accepted medical or surgical practice; not

primarily for the convenience of the patient, the physician, or other providers; andnot exceeding

(in duration or intensity) the level of care which is needed to provide safe, adequate, and

appropriate diagnosis and treatments. See 10 C.F.R. § 199.4(a)(l)(i) and applicable definitions at

10 C.F.R. § 199.2.

D.     The Federal Employees Health Benefits Program

       35.     The Federal Employee Health Benefits Program ("FEHBP") provides health care

benefits, including prescription drugs, to federal employees, former employees, and survivors.

The various FEPIBP healthcare plansrestrictcoverage to care and services that are medically

necessary. The prerequisites for reimbursement are generally analogous to those of the Medicare

program.


E.     The Federal Employees' Compensation Program

       36.     The FederalEmployees' Compensation Act provides workers' compensation

coverage, including payment of medical expenses, to three million federal and postalworkers for

employment-related injuries andoccupational diseases. The various Federal Employees'

Compensation Program plans restrictcoverage to care and services that are medically necessary.

The prerequisites for reimbursement are generally analogous to those of the Medicare program,

       37.    Medicare, TRICARE, FEHBP, and the Federal Employees' Compensation

Program are collectively referred to hereinas the "federal healthcare programs."




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                                V. FACTUAL ALLEGATIONS

A.      National Spine's Principal Owners/Board Of Directors Are Defrauding The Federal
        Government To Boost The Company's Income And The Returns On Their
        Investment

        38.    As a private equity fund withapproximately $26 billionundermanagement.

Sentinel "pursue[s] investment opportunities that cangenerate high risk-adjusted returns."

Sentinel, Overview, http://www.sentinelpartners.com/secondary.asp?pageID=27 (lastvisited

Sep. 2, 2015). To achieve such "high risk-adjusted returns," Sentinel partners with itsportfolio

companies' management and provides its business andfinancial expertise to increase the

profitability of the businesses and thereby grow the value of its investment. Onits corporate

website. Sentinel describes its investment philosophy as follows:

       Sentinel works as a team, makes collaborative, consensus decisions, andprovides
       portfolio executives broad access to ourresources andthe perspectives of our
       professionals.

                                                ***


       Each Sentinel deal team consists of several professionals who workclosely with
       eachportfolio company. This level of commitment enables our management
       partners to have full access to our resources and benefitfrom the multiple
       perspectives of our professionals.

       Sentinel's approach is to makerelatively few investments everyyear to ensure
       thatourportfolio companies getthe attention andsupport we believe they
       deserve. Ourinterests aretherefore closely aligned withthose of ourmanagement
       partners: we share a significant commitment to, and a vested interest in, the
       success of each portfolio company.

       We assist with strategy development; identify and help execute add-on
       acquisitions; optimize balance sheet capitalization; structure attractive
       compensation arrangements that aligninterests; and generally help and advise our
       management partners. We do not interfere in day-to-day operations.

Sentinel, Investment Philosophy, http://www.sentinelpartners.com/secondary.asp?pageID=20

(last visited Sep. 2, 2015). Similarly, Sentinel touts that holding seats onportfolio companies'

boards "allows usto make the maximum contribution to their success" and that by focusing on


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fewer large investments it can "commit considerable time and resources to each company in [its]

portfolio." Sentinel, Who We Are, http://www.sentinelpartners.com/secondary.asp?pageID=14

(last visited Sep. 2, 2015).

        39.     Under Sentinel's stewardship. National Spine has rapidly grown into one of the

largest - if not the largest - chain ofpain management clinics in the United States. In March

2012, Sentinel reported that, during 2011, National Spine had 22 facilities and treated

approximately 40,000 patients. Sentinel, National Spine & Pain Centers and Capitol Spine &

Pain Centers Merge to Form Leading Provider ofInterventional Pain Management Treatment^

Mar. 23,2012, http://www.sentinelpartners.com/int_news.asp?pageID=93. In contrast, for 2012,

Sentinel reported that National Spine had treated more than 160,000patients - four times the

number of patients it treated in 2011 - at over 30 different offices. Sentinel, National Spine

Profile, http://www.sentinelpartners.com/print_company.asp?pageID=50 (last visited Sep. 2,

2015). Hence, during Sentinel's first year of ownership. National Spine experienced a 400%

increase in patient visits while adding just 8 offices.

       40.     National Spine's largest expansion maneuver was its merger with Capitol Spine in

March 2012 (the "Merger"). Like its merger partner, Capitol Spine was a profit-driven chain of

pain management practices.

       41.     The following public statements concerning the Merger from National Spine's co-

founders (Dey, Love and Zuckerman), Capitol Spine's co-founders (Friedlis, Wisor and

Gordon), and Sentinel's Paul Murphy evidence that National Spine's Board of Directors, which

includes eachof these individuals, was unified in their objectives for the Company going

forward:


       "Our two businesses are the leaders in providing advanced, minimally invasive
       treatment options for patients in the Mid-Atlantic region," said Drs. Bobby Dey,



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       Marc Loev and Les Zuckennan, co-founders of National Spine & Pain Centers,
       "Our two organizations have the same mission—^to provide a comprehensive
       approach to the treatment of pain through the use of advanced, minimally
       invasive, interventional procedures. We also have highly compatible cultures, and
       look forward to working closely with Capitol Spine & Pain Centers' talented
       management team to expand the breadth of our services and our presence
       throughout the Mid-Atlantic."

       "We are very proud of everything that we have achieved and are excited about
       joining with National Spine & Pain Centers to create a true market leader," said
       Drs. Mayo Friedlis, Doug Wisor and Assaf Gordon, board members of Capitol
       Spine & Pain Centers. "We have seen the success of National Spine & Pain
       Centers' partnership with Sentinel, a private equity firm vdth a great track record
       of supporting management teams seeking to build stronger healthcare businesses.
       We are very excited to join this partnership."

       "With chronic and debilitating pain affecting more people in the United States
       than diabetes, heart disease and cancer combined, National Spine & Pain Centers
       addresses a crucial need for its patients and is well positioned in an exciting and
       fast growing healthcare specialty," said Paul Murphy, a partner at Sentinel. "We
       are proud to be partners with these two extraordinary groups as they endeavor to
       integrate and grow their business."

Sentinel, National Spine & Pain Centers and Capitol Spine & Pain Centers Merge to

Form Leading Provider ofInterventional Pain Management Treatment, Mar. 23,2012,

http://www.sentinelpartners.com/int_news.asp?pageID=93.

       42.      A profile that was posted on National Spine's website in 2013 credited Wisor

with institutingthe initiativesthat enabled Capitol Spine to significantly grow its revenue in the

months and years leading up to the Merger:

             Under [Wisor's] financial leadership, Capitol Spine became one of the largest
             outpatient pain practices in the United States and grew from a relatively flat
             revenue curve at $7.2 million in 2002 to near $27 million in 2011 (or a 274%
             increase). By cultivating a regionally branded pain management practice, his
             profitable growth initiatives concluded with a strategic private equity
             transaction with Sentinel Capital Partners in March of 2012.

National Spine, Board ofDirectors, https://web.archive.Org/web/20130104164053/http://

nationalspineandpaincenters.com/.




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        43.    At all relevant times. National Spine's Board ofDirectors has consisted of CFPM

and NSPC's founders, Capitol Spine's founders, and three partners withinSentinel and has acted

as National Spine's most senior governing body. During the relevant period, National Spine's

Board has included the following defendants:

                •   Vice Chairman - Marc Loev, MD (co-founder of CFPM and NSPC)
                •   Vice Chairman- Douglas Wisor, MD (co-founder of Capitol Spine)
                •   Prabaal B. Dey, MD (co-founder of CFPM and NSPC)
                •   Michael Fabian, CFA (Partner of Sentinel)
                •   Mayo Friedlis, MD (co-founder of Capitol Spine)
                •   Assaf Gordon, MD (co-founder of Capitol Spine)
                •   David Lobel, MBA (Managing Partner of Sentinel)
                •   Paul Murphy, MBA (Partner of Sentinel)
                •   Les Zuckerman, MD (co-founder of CFPM and NSPC)

       44.     Attorney David Vaughn of Vaughn & Associates, LLC in Baton Rouge,

Louisianaserves as National Spine's Corporate Compliance Officer. While serving as the

President of Anglo American Insurance Company, Mr, Vaughn directed his secretary to signhis

nameto false financial statements that he knewmisrepresented the amount of the company's

surplus to the Louisiana Commissioner of Insurance. Anglo American was liquidated and

eventually failed, causing a substantial loss to its claimants and Louisiana taxpayers. In April

1993, Mr. Vaughn pled guilty to three counts of mail fraud. The U.S. District Court for the

EasternDistrict of Louisiana sentenced Mr. Vaughnto 18 months of imprisonment and three

years of supervised probation. Additionally, the Supreme Courtof Louisiana suspended Mr.

Vaughn's law license from June 1993 to September 1997 as a result of his crimes.See In re

DavidM. Vaughn^^o. 95-B-0810, 660 So.2d 1202(La. 1995).

       45.     Relator, who worked for Wisor and Capitol Spine for two years prior to the

Merger and also worked with Wisor and National Spine for another 15 months thereafter,

witnessed firsthand Capitol Spine, National Spine, Sentinel andNational Spine's Board develop



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and implement multiple systematic fraudulent schemes to increase revenues and profits and

thereby increase their own personal returns on their investments and wealth. The substantial

revenue and profits generated through these schemes came at the expense of the government

healthcare programs and patients.

       46.       The more significant revenue-generating schemes that involve beneficiaries ofthe

government healthcare programs, which Relator estimates accounts for at least 50% of National

Spine's patient base, include among others:

       •     Routinely overcharging the government for unsupervised services rendered by mid-
             level providers by bilhng for these services as though they are rendered by the
             patients' physician;

       •     Requiring all opioid therapy patients to attend an office visit every 30 days (rather
             than every 90 days) so that it can bill for more office visits and services;

       •     Routinely overcharging the government for the basic evaluation that mid-level
             providers furnish to opioid therapy patients during their monthly visits;

       •     Automatically performing a battery of unnecessary drug tests on all opioid therapy
             patients during each office visit;

       •     Routinely performing and billing for unnecessary and worthless ultrasoimds in
             connection with numerous types ofpain injections;

       •     Routinely prescribing costly orthopedic braces that are unnecessary and worthless;

       •     Illegally dispensing narcotics from the Fredericksburg office;

       •     Performing unnecessary spinal cord stimulator trials on patients who are poor
             candidates for permanent spinal cord stimulation therapy;

       •     Performing unnecessary radiofrequency ablation procedures; and

       •     Performing urmecessaiy pain injections.

       47.      These schemes are part of a business modelthat is reliant upon keeping patients

on a continuous pain management treatment cycle: exhaust coverage of injections; provide

orthopedic braces; perform procedures such as a spinal cord stimulationor radiofrequency



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ablation; prescribe opioids; recommence pain injections .... In sum, National Spine's Board has

created a corporate culture in which money trumps the provision of appropriate patient care.

B.     The Board Utilizes Financial Incentives To Induce Employees To Bill For
       Unnecessary Office Visits, Services, And Orthopedic Braces

       48.     National Spine's Board utilizes bonus and award systems as well as revenue and

patient quotas to induce employeesto comply with its fraudulent, profit-drivenpolicies and

requirements. At the same time, it closely monitors employees' performance and compliance

with its policies and requirements.

       49.     More particularly. National Spine pays quarterly bonuses to physicians who

generate more than their salary in revenue from pain management services, "ancillary services"

such as drug tests and ultrasounds, and sales of orthopedicbraces. It is not unusual for a

physician's quarterly bonus to exceed$10,000. Physicians must generate enoughrevenue to

covertheir salaryto qualify for a bonus andto be eligible for obtaining a small ownership

interest in the practice. And, if a physician repeatedly failsto meettheir revenue requirement,

then National Spine reserves the right to terminate the physician. A similar bonus system was in

place at Capitol Spine before the Merger.

       50.     National Spine pays mid-levelproviders two bonuses- a quarterly bonus and a

semi-armual bonus. The quarterly bonus is based on the amount ofrevenue that the mid-level

provider generates from "ancillary services," such as ultrasounds, and sales of orthopedic braces.

The quarterly bonuses paidto mid-level providers frequently exceed $2,500. Mid-level providers

also receive a semi-annual bonus basedon the amount of revenue they generate through the

provision ofpain management services. The semi-annual bonus can be as much as $5,000.

Before the Merger, Capitol Spine only paid physician assistants an annual bonus, which was

based on the revenue they generated by providing pain management services.


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        51.    Similarly, National Spine expects mid-level providers to see a minimum of 25

patients per day. If a mid-level provider does not satisfy this requirement, they are counseled by

their supervising physician. If a mid-level providercontinues to miss this daily minimum

requirement. National Spinewill effectively force them out by requiring themto coveradditional

offices and overwhelming them with an unmanageable workload. Before the Merger, Capitol

Spine required mid-level providers to see approximately 16 to 18patients per day.

       52.     In addition.National Spinepays quarterlybonuses to office managers and

medical assistants based on the volume ofdrug tests performed at their office and the volume of

orthopedic brace fittings that the medical assistants perform. Capitol Spine did not pay bonuses

to office managers or medical assistants,

       53.     National Spine's Board closely monitors physicians', mid-level providers', and

medical assistants' compliance with the Company's revenue maximizationpolicies and

requirements. The Boardholds a telephonic meetingevery morning duringwhich the board

members not only review the Company's ongoing operations and financial results but also

closely trackemployees' compliance withvarious Board-instituted performance requirements,

focusing on each individual employee'srevenue generation, usingmetrics such as volume of

patients seen, services performed, and orthopedic braces sold. Wisor maintains a spreadsheet on

the computer in his office through which he carefully records andtracks, by office and provider,

several categories ofrevenue including,revenue firom pain management services, revenue from

"ancillary services," as well as revenue from sales of orthopedic braces. National Spine

fi-equently sends emails to employees in which physicians and offices are ranked by howmuch

revenue theyhave generated and also report the volume of drugtestsperformed and orthopedic




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braces sold by each office. When results are not in line with the requirements imposed by the

Board, employees are openly ridiculed and counseled.

        54.     Generally, at least once a month. National Spine's Board members attend

meetings at Sentinel's office in Manhattan. All Board members, other executives, and physicians

must also attend a monthly meeting at National Spine's headquarters in Rockville, Maryland, to

discuss revenue generation and other issues.^ In addition. National Spine holds biannual

organizational meetings at the Fairview Park Marriott in Falls Church, Virginia, where revenue

generationcompliance and strategies are always among the key topics of discussion.

C.      To Fraudulently Obtain Higher Reimbursements National Spine Is Misrepresenting
        That All Services Rendered By Mid-Level Providers, Including Unsupervised
        Services, Are Provided By The Patients* Physician

        1.     The prerequisites for services furnished by mid-level providers to be billed as
               "incident to services"


        55.    In general, the reimbursement rate for services rendered by mid-level providers is

85% of the rate published in the Medicare Physician Fee Schedule("PFS"). See 42 C.F.R. §§

414.52(d) & 415.56(c).

        56.    However, when mid-level providers furnish services and supplies that are an

incidental part of personal professional services in the course of treatmentof an injury or illness

ordered by a physician (the "ordering physician") and such services are furnished under the

direct supervisionof a physician, then the services qualify as an "incident to service" that the

governmenthealthcareprograms treat as services furnished by the billing physician for purposes

of billing and payment. Accordingly, when a mid-level provider furnishes an "incident to

service" the government will reimburse the billing physician or their clinic 100% of the PFS



     ^Before the Merger, Capitol Spine similarly held amonthly meeting in Fairfax, Virginia,
that all physicians were required to attend.


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amount (rather than 85%). See 42 C.F.R. § 410.26(b)(5); see also Medicare Benefit Policy

Manual ch.l5, §§ 60.1 & .2. The physician directly supervising the mid-level provider need not

be the same physician upon whose professional service the "incident to service" is based. Id. The

physician who bills for the incident to service must be the physician who directly supervises the

service because it is that physician who had a personal role in, and responsibility for, the services

for which the government is billed.

        57.    "Direct supervision" in the office setting means that the physician must be present

in the office suite and immediately available to furnish assistance and direction throughout the

performance of the procedure. 42 C.F.R. § 410.32(b)(3)(ii). The physician is not required to be

present in the room where the procedure is performed. See id.

        58.    When billing for a service furnished by a mid-level provider that was incident to

an ordering physician's services and that was directly supervisedby the ordering physician, the

ordering physicianis to be identified as the rendering provideron the bill (CMS Form 1500) and

she or he must also sign the bill. See Medicare Claims Processing Manual, ch.26, § 10.4,

       59.     When billing for a service furnished by a mid-level provider that was incident to

an ordering physician's services but a physician other than the ordering physician directly

supervised the service, the physician who directly supervised the mid-level provider - not the

orderingphysician - is deemed to be the renderingprovider on the bill and she or he must also

sign the bill. See id. Said differently, the service shouldnot be billed underthe ordering

physician's billing number unless that physician also directly supervised the mid-level provider

when they furnished the service. Instead, in this situation the service must be billed under the

name of the physician who directly supervised the service.




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        60.     Ifthe mid-levelproviderfurnishes services that mayotherwise be incidentto an

orderingphysician's services butthere is nophysician present in the office, or there is a

physicianpresent but they are not immediately available to give assistance and direction

throughout theperformance ofthe service, then the service does not qualify as an incident to

service because it was not directly supervised by a physician. In such case, the mid-level

provider mustbe identified as the renderingprovider on the bill, and the mid-levelprovider must

also sign the bill And, under this scenario, the governmentreimbursesthe clinic for the service

rendered by the mid-level provider at 85% of the applicable ratepublished in the PFS.

       61.      Servicesthat physicians and mid-level providers render to beneficiaries of the

government healthcare programs are billedto the government using Form CMS-1500. In signing

Form CMS-1500, the physician makes express certifications that he or she has complied with the

regulatory requirements for billing for "incident to services":

       In submittingthis claim for payment from federal fimds, I certify that: 1) the
       information on this form is true, accurate and complete; 2) I have familiarized
       myself with all applicable laws, regulations, and program instructions, which are
       available from the Medicare contractor; 3) I haveprovided or will provide
       sufficient information required to allow the government to make an informed
       eligibility and payment decision; 4) this claim, whether submitted by me or on my
       behalfby my designated billingcompany, complies with all applicable Medicare
       and/or Medicaid laws, regulations, and program instructions for payment
       including but not limited to the Federal anti-kickback statute and Physician Self-
       Referral law (commonly known as Stark law); 5) the services on this form were
       medically necessary and personally furnished by me or were furnished
       incident to my professional service by my employee under my direct
       supervision, except as otherwise expressly permitted by Medicare or TRICARE;
       6) for each service rendered incident to my professional service, the identity
       (legal name andNPI, license #, or SSN) of the primary individual rendering
       each service is reported in the designated section. For services to be
       considered "incident to" a physician's professional services, 1) they must be
       rendered under the physician's direct supervision by his/her employee, 2)
       they must be an integral, although incidental part of a covered physician
       service, 3) they must be of kinds commonly furnished in physician's offices,
       and 4) the services of non-physicians must be included on the physician's
       bills.




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                                               *   *   *


       NOTICE: Anyone who misrepresents or falsifies essential information to receive
       payment from Federal funds requested by this form may upon conviction be subject to
       fine and imprisonment under applicable Federal laws.

(Emphasis added).

       2.      To fraudulently obtain higher reimbursements from the government
               National Spine falsely bills all services provided by mid-level providers under
               the name of the patients' physician, including services for which there was no
               physician supervision

        62.    Fromat least March2012 to the present. National Spine has automatically billed

all services furnished by mid-level providers as incident to services under the name of the

ordering physician regardless of whether or not such services qualify as incident to services

imder 42 C.F.R. § 410.27.^ In fact, they routinely do not qualify as "incident to services" because
at the timethe mid-level providers ftimished the service there was no physician - neither the

ordering physician nor a supervisory physician - present in the office suite.

       63.     In addition, when the ordering physicianwas not in the officesuite and only a

supervisory physicianwas presentwhen the mid-level providers furnished the services. National

Spine typically bills for such services furnished by the mid-level providers as incident to services

and misrepresents on the bills submitted to the government that the ordering physician was the

renderingprovider and has the orderingphysician improperly sign the bills.

       64.     Oftentimes the orderingphysician is not working at all - i.e., is either on vacation,

attending a conference, playing golf, or at home - on days whenthe mid-level providers furnish

    ^Under National Spine's billing process, the various offices submit billing information to
the central billing department at the Rockville, Maryland headquarters. The billing department
thentransmits the information to third-party billing company, ALN Medical Management, LLC,
which maintains its principal offices in Centennial, Colorado, for submission to the applicable
government healthcareprogram. Before the Merger, Capitol Spine's various offices submitted
their billing information to the billing department at the Fairfax, Virginia office which then
transmitted the information to a third-party billing company for submission to the government
healthcare programs.


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services that are fraudulently billed as though the ordering physician provided them. Here again,

on many of these daysthere is no physician in the office to provide directsupervision.

        65.    National Spine is submitting these claims for payment for services that are

factually false in order to receive a higher reimbursement for the services rendered by mid-level

providers - 100%, rather than 85%, ofthe PFS rate.

        66.    Capitol Spine similarly engaged in this same fraudulent practice the entire period

that Relator worked there.

        67.    An examination of physicians' billing histories substantiatethe existence of this

fraud because it reveals multiple bills from the same physician for services provided at different

offices onthe same day. In other words, services Relator furnished at the Fredericksburg office

were billed as incident to services and the bill identifies Wisor as the rendering provider and

signatory. However, other bills from that same day identify Wisor as providing services at the

Glen Allen office.


       68.     For instance, the services Relator provided between January 2013 to June 3,2013

to the following patients at the Fredericksburg and Glen Allen offices were all falsely billed as

though Wisor provided the service even though neither Wisor, nor any other physician, was

present in the office suite when these patients were seen:


                       DB                                              Medicare
                       TM                                              Medicare
                       EN                                             TRICARE
                       GT                                             TRICARE
                       MT                                             TRICARE


       69.     Similarly, in May 2013, services thatRelator provided to the following patients,

among others, at the Fredericksburg office were billed under Wisor's name even though Wisor




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 spent the entire day working atthe Fairfax, Virginia office (the "Fairfax office") covering for Dr.
 Virgil Balint who was out ofthe office for two weeks^:


                YS                           May 28, 2013                      TRICARE
                SD                           May 30, 2013                      TRICARE
                CT                           May 30,2013                       TRICARE
                RC                           May 31, 2013                      TRICARE
                SD                           May 31,2013                       TRICARE
                 JJ                          May 31,2013                       TRICARE
                TL                           May 31,2013                       TRICARE


        70.     Byway offurther example, Wisor billed for services that Relator provided to

Medicare patients onthe following dates when he was notworking:

 Dec. 9-11,2011         Attending the N. Am. Neuromodulation Society's Annual Meetina in Las Veeas
 Dec. 6-9,2012          Attending the N. Am. Neuromodulation Society's Annual Meeting in Las Vegas
 Jan. 25-Feb. 1, 2013   On vacation in Kiawah Island, South Carolina
 Apr. 1-5,2013          On vacation at Disney World in Florida
 Apr. 7-10,2013         Attending a family member's funeral in Buffalo, New York

        71.     In 2010 and2011, Dr. Wisor tookvacation time on days thathis children were off

from school as well as firom April 24 to 28, 2011. The only other physician working atthe Glen
Allen office atthe time was Dr. Lagowsky, who also took vacation time on days when her
children were offfrom school. Accordingly, on each ofthose days, Relator furnished services to

Dr. Wisor's patients while no physician was in the office. Yet all of those services were

fi-audulently billed under Dr. Wisor's name even though they did not qualify asincident to
services. For example, fromDecember 20 to 31,2010, the services Relator furnished to the

following patients atthe Glen Allen office while no physician was present inthe office were
fraudulently billed as though Dr. Wisor provided the service:




    ^The only physician present inthe office on these dates was a locum tenen who was not
credentialed to see patients in Virginia.


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                        DL                                           Medicare
                        VD                                           Medicare
                         JG                                          Medicare
                        BG                                           Medicare
                        BM                                           Medicare
                        EN                                          TRICARE
                        CR                                          TRICARE
                        TS                                          TRICARE

        72.      Inaddition, throughout the period that Relator was employed by Capitol Spine
and National Spine, Wisor frequently didnotwork onFridays. However, Relator worked on

Fridays and saw patients. All the services that Relator provided to patients while Wisor was out
ofthe office on Fridays - orany other day - were fraudulently billed tothe government under
Wisor's name as though he had provided the services.

        73.     Tomake matters worse, frequently there was nophysician even in theoffice suite

when Relator furmshed services that were billed under Wisor's name and signature,^ Specific
examples ofpatients from the Glen Allen and Fredericksburg offices to whom Relator provided
all oftheir follow-up services that were nevertheless billed as though they were provided by
Wisor even though neither Wisor, nor any other physician, was present in the office when

Relator provided the services include:

              «lafienfeSfayst.
                TS                       2011 - June 2013                   TRICARE
                DK                       2012-June 2013                      Medicare
                GW                       2012-June 2013                      Medicare
                JM                       2012-June 2013                      Medicare
                MS                       2012-June 2013                     TRICARE
                TH                       2012-June 2013                      Medicare


       74.      Moreover, although all services provided bymid-level providers arebilled as

incident toservices, inmany cases National Spine's physicians, including Wisor, took no interest

     From April 2010 to September 2012, Dr. Suzanne Lagosky worked on Fridays atthe Glen
Allen office. Dr. Lagosky, however, refused to supervise Relator.


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in and had essentially no involvement in the patients' treatment after the initial visit. Indeed,
many ofthe patients Relator treated should have been re-evaluated by Wisor because there was a
change in their medical condition or they were not responding to the treatment plan that Wisor
initially prescribed. Inasmuch as the patient was being treated for anew problem or Relator had
todeviate from Wisor's treatment plan, these services did not qualify as incident to services and
consequently should not have been billed under Wisor's name. Examples ofpatients who
received treatment at the Fredericksburg and/or Glen Allen offices from a mid-level provider that
was either for new symptoms or deviated from the initial treatment plan but was nevertheless
still billed as anincident to service under the name ofa physician include:

               AJ                       Sep. 2012 - June 2013                   Medicare
              AM                       Late 2010-March 2013                     TRICARE
              AN                        Sep. 2012-June 2013                     Medicare
              AS                                2010                            Medicare
              BG                        Sep. 2012 - June 2013                   Medicare
              CH                        Sep. 2012-June 2013                     Medicare
              CL                        Sep. 2012-June 2013                    TRICARE
              CR                       Mar. 2010-June 2012               Fed. Workers' Comp.
              CT                        Sep. 2012-June 2013                    TRICARE
              DB                        Sep. 2012-June 2013                    TRICARE
              DP                        Late 2012 - June 2013                   Medicare
              ES                       Sep. 2012-June 2013                      Medicare
              GT                        Sep. 2012-June 2013                    TRICARE
               JF                       Sep. 2012-June 2013                    TRICARE
              KG                        Sep. 2012-June 2013                     Medicare
              KY                            2011 -2013                         TRICARE
              LM                        Sep. 2012-June 2013                     Medicare
              MH                      Sep. 2012-June 2013                       Medicare
             MM                        Sep. 2012-June 2013                     TRICARE
              MS                       Sep. 2012-June 2013                     TRICARE
              PC                       Sep. 2012-June 2013                      Medicare
              RT                       Sep. 2012-June 2013                     TRICARE
              TM                            2012-2013                           Medicare
              TS                       Mar. 2010-June 2013                     TRICARE
              VC                       Late 2012-June 2013                     Medicare
              VL                       Sep. 2012-June 2013                     TRICARE




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        75.     This blatant abuse of billing for incident to services was instituted by and

emanated from the highest levels of company management. During a training session held at

National Spine's headquarters in early 2012, Gordon instructed Relator and other mid-level

providers to bill all services that they provide under the name and NPI number of the ordering

physician regardless of whether the ordering physician, another physician, or no physician is

present in the office suite. In fact, since all of their services are billed under the name of the

ordering physician, mid-level providers at National Spine do not even receive their own

Medicare provider number.

        76.     In or around the Fall of 2012, Claudine Maly ("Maly"), who worked in National

Spine's billing department and was also its Chief Technology Officer, created a checkbox on the

patient note form on National Spine's electronic medical record system (GE's Centricity

software program) that enables mid-level providers to indicate whether a supervising physician

was present in the office at the time the service was provided. To make it appear that the mid-

level providers never rendered services without a supervising physician in the office. National

Spine instructed the mid-level providers to always check the box stating that a supervising

physician was present regardless of whether such a physician was present or not.

        77.    On multiple occasions, including during corporate meetings, Relator and other

mid-levelproviders voiced concernsto top managementabout the propriety of billing for a

service under the name of a physician who did not directly supervisethe service,but they were

always instructedto bill under the name of the ordering physician.

       78.     At the quarterly mid-level provider meeting for the fourth quarter of 2012 held at

the Fairfaxoffice, Gordon, Maly, and HumanResources Director, Mona Janke, acknowledged

that services furnished by mid-level providers when no physician is presentin the office suite do


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not qualify as incident to services and are required to be billedunderthe name of the mid-level

provider. Yet, at the same meeting, Gordon andJanke also instructed themid-level providers to

continue billing their services under thename of the ordering physician, pointing outthat, if

National Spine started billing for the mid-level providers' services properly, then it would raise a

glaring red flag to the government that could leadto a complete review and audit of National

Spine's billing practices.

        79.    On September 18,2012,Relator raised concerns about National Spine's

fraudulent incident to services billing practice directly to Maly, stating that she was "having a

tough time" with billing Medicare at thephysician's rate when the physician is notphysically

presentin the office "and at times not evenin the state."Noting that she "sees lots of Medicare

patient[s]," Relator further complained thatshe usually sees Medicare patients before Wisor is in

the office or after he leaves the facility. Maly responded to Relator viaan email dated September

19,2012 in which she stated in pertinent part that:

       I totally understand. Youare right if there is no doc in the suitethen definitely no
       incident to forMedicare. I checked with Gordon andthey are still working on the
       communication to make all of this clearer and who the PA's can have sign off on
       their notes when their main supervising physician is not there. Therehas been so
       much talk backand forth that I don't wantto give you the wrong guidance so hold
       tight and do what you know at the moment. ...

Shortly after this interchange, Wisor admonished Relator andtold herto stop sending emails

questioning National Spine's billing practices.

       80,     Thereafter, during a meeting at the Fairfax officeheld on October 4,2012 to

review Medicare billing, Relator and other mid-level providers, including, Deborah Nelson,

Emily Powell, Ericka Hoffmann, Laura Ricard, Maggie Ipsaro, and Jenifer Blanding, raised

concerns to Gordonand Maly that National Spine was billingthe government for their services

asthough the ordering physician furnished the services even though the ordering physician was


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not present at the office and frequently no physician was present in the office at the time of the

service. Gordon said thathe would work with the office managers to ensure thata physician is

always in the office when the mid-level providers are scheduled to seegovernment healthcare

programpatients and that the physicians would be required to provideassistance to the mid-level

providers when needed. With regard to how the services are billed, Gordon directed the mid-

level providers to continue reporting thatthe ordering physician rendered the services.

        81.    Since Wisor rarely worked at the Fredericksburg office, Relator also asked

Gordonand Maly duringthe October 4,2012 meetingif she could receive her own Medicare

provider number and begin billing under herown name, Gordon and Maly told Relator thatthey

recognize that she should have a Medicare provider number butthatthey would needthe

approval of the Board of Directors.

        82.    The Board rejected Relator's request, stating that it would hurtthe Fredericksburg

office'srevenue, as it would only receive 85% of the PFS for Relator's services instead of 100%,

and it would also raise a red flag to the government if only onemid-level provider at the

Company is billing for services under her name.

       83.     Shortly after the October 4,2012 meeting, National Spine did, in fact, begin

scheduling mid-level providers to see patients covered bythe government healthcare programs
only on days when a physician was also going to be inthe office. However, National Spine

continued thepractice of billing for all services furnished by themid-level providers as though

the ordering physicians rendered the services irrespective of whether the ordering physician was

present in the office. Moreover, this change laid barethe perverse consequence of National

Spine's practice of crediting only the ordering physician —notthe supervising physician —for

patient visits when determining whether revenue thresholds are satisfied and in calculating



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bonuses. Other physicians are effectively dis-incentivized to assume any supervisory role when

mid-level providers seepatients because theyreceive no financial benefit from providing

supervision; it only increases their workload while subtracting from the time they canspend

seeing their own patients and meeting their own quotas.

D.      National Spine's Fraudulent Schemes Related To Opioid Therapy

        1.     National Spine fraudulently generates significant revenues by requiring
               opioid therapy patients to attend unnecessary and worthless monthly office
               visits


        84.    Oneof the primary treatment services thatNational Spine provides is opioid

therapy for chronic lowbackor neck painusing narcotics suchas oxycodone (e.g., OxyContin,

Percocet, and Percodan), oxymorphone hydrochloride (e.g., Opana), hydromorphone (Dilaudid),

morphine (e.g., MS Contin), and Fentanyl (e.g., Duragesic).

        85.    Relatorestimates that at least 75% of the opioidtherapypatientsthat she treated

while working at National Spine were insured by one of the government healthcare programs.

       86.     The general standard of care for treatment of opioidtherapy patients is to

schedule office visits every 90 days. Before the Merger, Capitol Spine followed the standard of

care and required that opioid therapy patientsvisit the office every 90 days.

       87.     To be able to bill for more office visits and drug tests, which are discussed in

more detail in PartV-D-3 below, National Spine requires that opioid therapy patients visitits

office every month. Accordingly, National Spine typically only provides opioid therapy patients

a 30-day supply of the prescribed opioid drug. To induce opioid therapy patients to attend

monthly appointments, National Spine tells patients thattheywill be required to pay a $15

penalty ifthey seek a refill before an appointment.




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          88.   In or around April 2012, the office manager of the Fredericksburg office, Tanya

Almaas, informed Relator thatthe Board wants all opioid therapy patients to visitthe office each

month. Wisor subsequently informed Relator that Sentinel directed National Spine to institute

this monthly visit policy.

          89.   Mostmonthly visits are essentially worthless because National Spinedoes not

provide any treatment to the opioid therapy patients during the appointment. {See paragraph 92

below).

          90.   When Medicare began refusing to pay for monthly visits for opioid therapy

patients in or around February 2013 on medical necessity grounds, National Spine changed its

policy for Medicare beneficiaries from requiring a visit every 30 days to every 90 days.

However, National Spine continues to require that all other patients visitthe office monthly,

including patients insured by TRICARE, the Federal Employee Health Benefits Program, andthe

Federal Employees' Compensation Program.

        91.     By requiring patients to attend monthly office visits. National Spine is not only

defrauding the government healthcare programs, it is also defi*auding those opioid therapy

patients who must make a co-payment for each medically unnecessary office visit.

       2.       National Spine overcharges the government for opioid therapy patients'
                monthly office visits

        92.     During the routine opioid therapy patient's monthly office visit, a medical

assistant performs a qualitative drug screening usinga urine sample andthen a mid-level

provider ensures thatthe patient is not experiencing any issues before providing the patient a

prescription for another 30-day supply of theirprescribed opioid drug. Thus, during the vast

majority of opioid therapy office visits, no treatment is rendered.




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        93.     Since no treatment is rendered, the decision-making component of these office

visits are of low complexity and therefore National Spine shouldbill the evaluation and

management (E&M) service provided during these visits under CPT Code 99213. To obtain

higher reimbursements forthe service, however, National Spine instructs mid-level providers to

code the E&M service provided during the monthly visit as CPT Code 99214, which applies to

casesthat involve decisions of "moderate complexity." National Spine instructed all mid-level

providers to up-code the monthly opioid therapy visits by billing them as CPT Code 99214. For

instance, Wisor and other physicians instructed mid-level providers to code all E&M services as

"moderate complexity" CPT Code 99214 during a special corporate meeting held on May 18,

2013 at the FairviewPark Marriott in Falls Church, Maryland. The Board of Directors attended

this special meeting. After the meeting, Gordon also directed the mid-level providers to bill all of

the monthly visits as CPT Code 99214.

        94.     Thus, in addition to billing the government healthcare programs for unnecessary

andworthless office visits for opioid therapy patients (two out of every three visits). National

Spine also frequently overcharged the goverrmient forthe services rendered during the opioid

therapy office visits.

        3.      National Spine routinely fraudulently bills the government for drug tests that
                are medically unnecessary and often worthless

                         Coverage ofdrus screenin2 for opioid therapy vatients

        95.     A physicianprescribing narcotics to treat chronic pain may be able to better

manage the patientif the physician knows whether the patientis consuming othermedications or

substances that could suggest thepossibility of substance abuse or leadto drug-drug interactions.

See Medicare Local Coverage Determination ("LCD") L35105. Drug screening canalso help a




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physician ensure that the patient istaking the prescribed medication and is not diverting the
medication or providing it to others.

        96.     A qualitative drug screen can be performed at thepointof care to determine the

presence orabsence of certain drug classes in the body. The most common method ofqualitative
drug screening is totest a urine sample. Qualitative urine drug tests are simple toperform and
allow for immediate test results that may assist inthe immediate management ofpatients,

        97.    Inasmuch as qualitative drug screens only detect the presence or absence of

certain drug classes, a more sophisticated (and more costly) quantitative drug testcan be

performed when it is medically necessary for a provider to know what specific drug and/or the

amount of a particular drug a patient has in their bloodstream.

        98.    Because a quantitative testis more complex andrequires specialized training,

physicians normally send theurine sample to an outside laboratory such as Aegis Sciences

Corporation, Millennium Health, or Meditech, to perform this more precise testing.

        99.    As a prerequisite to coverage by the government healthcare programs, qualitative

and quantitative drug screening must be reasonable andnecessary for the treatment of the

patient. See 42U.S.C. § 1395y(a)(1)(A); accord 42 U.SC. § 1320c-5(a)(3); 42 C.F.R. §

1004.10(a); 32 C.F.R. §§ 199.4(a)(l)(i) & (g)(2).

        100.   It follows that any physician who orders laboratory tests must maintain

documentation of medical necessity in the beneficiary's medical record. See 42 C.F.R. §

410.32(d)(2)(i). Likewise, a laboratory thatsubmits a claim for payment to the government for a

drug test must maintain thedocumentation it received from the ordering physician and beable to

show that its claim accurately reflected the information it received from the ordering physician.
See 42 C.F.R. § 410,32(d)(2)(ii).




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        101.   Like othermedical services, monitoring an opioid therapy patient's consumption

ofprescribed opioids and other substances must be individualized and based on the needs of each

particular patient. Testing all patients for all drug classes during eachoffice visitpursuant to a

blanket order is not individualized treatment and is not reimbursable. Numerous Medicare Part B

Medicare Administrative Contractors ("MAC") have issued Local Coverage Determinations

("LCD") making this clear. Significantly, these guidelines govern reimbursement for every state

(and the District of Columbia) in which National Spine has an office:

               (A)     The Part B MAC for New York as well as for Connecticut, Indiana, and

Kentucky notified providers that, effective October 1,2009, a qualitativedrug screen is

considered medically reasonable and necessary for the monitoring of patients receiving opioid

therapy when"illicit drug use is suspected." LCD L28145 (emphasis added). Effective July 1,

2011, this MAC revised its LCD so as to clarify that qualitative drug screening is considered

medically reasonableand necessary in patients receiving opioid therapy where (i) "illicit drug

use, non-compliance or a significant pre-test probability of non-adherence to the prescribed

drug regimen is suspected and documented in the medical record," or (ii) the patients are "at

high risk for medication abuse due to psychiatric issues, ...[patients] have engaged in

aberrant drug-related behaviors, or who have a history of substance abuse." Id. (emphasis

added). This MAC also directed that "[d]rugs or drug classesfor which screening is performed

should reflect only those likely to be present, based on the patient's medical history or

current clinical presentation," and that "[c]onfirmation of drug screens is only indicated when

the result of the [qualitative] drug screen is different than that suggested by the patient's

medical history, clinical presentation or patient's own statement." Id. (emphasisadded).




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               (B)     In June 2010, the Part B MAC for Florida, Puerto Rico, and the Virgin

Islands, issued an LCD directing medical practitioners that qualitative drug testing for

management of a patient receiving opioid therapy is considered medically reasonable and

necessaiy when: (i) "there is a significant pre-test probability of nonadherence to the

prescribed drug regimen as documented in the patient's medical record"; or (ii) "this select

population has a significant pretest probability of drug interactions and side effects." LCD

L30574 (emphasis added). In addition, this MAC specifically instructed that "[r]outine

screening performed as part of a physician's protocol for treatment" is not considered to be

medically reasonable and necessary. Id. (emphasis added). It also directed that there is no

screening benefit for routine urinalysis when performed on the same date as a qualitative

drug screen and thus such claim would not be reimbursed. Id. (emphasis added).

               (C)    In November 2011, the Part B MAC for the District of Columbia,

Maryland, and New Jersey as well as for Delaware and Pennsylvania notified providers that a

qualitative drugtest is deemed to be medically reasonable and necessary for opioidtherapy

patients where: (i) "other illicit drug use is suspected, when there has been an acute change

in physical or mental status ...", or (ii) "[t]o demonstrate abnormal findings, including the

presence or absence of prescribed drugs, presence of nonprescribed substances, detection

of illicit substances and adulterated urine samples." LCD L32050 (emphasis added). This

MAC further directedthat "[djrugs or drug classes for which testing is performed should

reflect only those likely to be present, based on the patient's medical history or current

clinical presentation." Id. (emphasis added).

              (D)     In August 2012, the Part B MAC for Arkansas, Colorado, Louisiana,

Mississippi, New Mexico, Oklahoma, and Texas directed that "[a] qualitative drug screen may



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be medically reasonable and necessary for the monitoring of chronic pain patients on chronic

opioidtherapy who are at high risk or who have engaged in aberrant drug-related behavior,"

L32666 (emphasis added). In addition, this MAC directed that "[djrugs or drug classes for

which screening is performed should reflect only those likely to be present, based on the

patient's medical history or current clinical presentation." Id. (emphasisadded). It also

specifically directed that:

        Frequency of drug screening should be based on the risk of diversion or abuse.
        Each patient's condition and response to treatment must medically warrant the
        number of services reported for payment. ... Medicare expects that patients will
        not routinely require the maximum allowable number of services.

Id. (emphasis added). With regard to confirmatory drug screenings, the Part B MAC directedthat

such a screening"is indicatedwhen the result of the [qualitative] drug screen is different

than that suggested by the patient's medical history, clinical presentation or patient's own

statement." Id. (emphasis added).

                (E)     In December 2014, the Part B MAC for Virginia and West Virginia as

well as North Carolina and South Carolina issued an LCD similarly directingthat "[cjriteria to

establish medical necessityfor drug testing must be based on patient-specific elements

identified during the clinical assessment, and documented by the clinician in the patient's

medical record ...." LCD L35105 (emphasis added). This MAC instructs that the risk of

addiction in opioid therapy patients is "considered equivalent to the risk in the general

population." Id. For opioid therapy patients, the MAC recommends that an initial baseline test

for multiple drug classes be performed followed by random drugtests at random intervals. Id.

(emphasis added). Unless otherwise medically justified, testing should be limited to "prescribed

medications, non-prescribed medications that may pose a safetyrisk if taken with prescribed

medications, and illicit substances based on patienthistory, clinical presentation, and/or


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community usage," and the frequency of such testing should be based on a patient's level of risk

for abuse and diversion ofthe pain medications:

                                               1,: ,1! ^     Ecequdhcy.ofRandbm'iE^stihs
                      Low Risk                                 1-2 times every 12 months
                    Moderate Risk                              1-2 times every 6 months
                      High Risk                                1-3 times every 3 months

Id. Thus, monthly testing would only be appropriate for patients who are identified as "high risk"

for abuse or diversion. Furthermore, this MAC specifically directed that drug tests performed

under a '^blanket order" will not be covered and that "[r]outine standing orders for all

patients in a physician's practice are not reasonable and necessary." Id. (emphasis

added).With regard to quantitative drug testing, the MAC instructs that confirming a negative

qualitative test result is reasonable and necessary if:

        a. The result is inconsistent with a patient's self-report,presentation, medical
           history, or current prescribedmedication plan (should be present in the
            sample);

        b. Following a review of clinicalfindings, the cliniciansuspects use of a
           substancethat is inadequately detected or not detected by a [qualitative test];
            or



        c. To rule out an error as the cause of a negative [qualitative test] result.

Id. Definitive testing to confirm a positive qualitative test result is reasonable and necessary if

"the resultis inconsistent with the expected result, a patient's self-report, presentation, medical

history, or current prescribedmedicationplan." Id.

        102.     The FEHBP plan managed by MHBP similarly directs that "[t]ests performed

pursuantto orders/requests for preselected tests or panels of tests applicable to multiple patients

are not covered."


        103.     Echoing the reimbursement requirements that the MACs have set forth, a group of

pain management physicians recommended the following "practical approach to administering


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drug screening" in an oft-cited article published in the Pain Physician Journal in the spring of

2011:


        ... pjnclude baseline drug testing, if appropriate; initiation of opioid therapy and
        compliance monitoring within one to three months after baseline monitoring; and routine,
        random monitoring approximately every 6-12 months or so, with provision for
        monitoring for unexpected results, complaints, or behavior patterns.

See Paul J. Christo, MD, et al. Urine Drug Testing In Chronic Pain, Pain PHYSICIAN JOURNAL

Apr. 2011 at 134.

        104.    As Andrea Treese Berlin of the HHS OIG observed, "routinely testing specimens

for many different drugs is a red flag [for lack of medical necessity] because 'it would seem like

it might be without regard to the patient's medical condition.'" Doctors Cash In On Drug Tests

For Seniors, And Medicare Pays The Bill, Wall St. J., Nov. 10, 2014 (http://www.wsj.com/

articles/doctors-cash-in-on-drug-tests-for-seniors-and-medicare-pays-the-bill-1415676782).

   National Spine has a blanket order requiring that each opioid therapy patient receive a
  qualitative drug testfor numerous drug classes during each office visit and also that every
      patient's urine sample be sent to an outside lab for confirmatory quantitative testins

        105.    National Spine routinely administers uimecessary qualitative drug tests and orders

unnecessary quantitative testing by an outside lab for every opioid therapy patient during each

office visit.


        106.    Each time an opioid therapy patient requires a refill oftheir pain medication

National Spine requires that its medical assistants administer a twelve panel qualitative drug

screening that typically covers the following drug classes:

                 •   Alcohol                         •   MDMA (ecstasy/Molly)
                 •   Amphetamines                    •   Methadone
                 •   Barbiturates                    •   Methaqualone
                 •   Benzodiazepines                 •   Opiates
                 •   Cocaine                         •   PCP
                 •   Heroin                          •   THC (marijuana)



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          107.     In accordance with National Spine's blanket order, when an opioid therapy patient

arrives for their visit, a medical assistantrequires the patient to urinate into a test cup that

contains color-coded test strips. Within minutes of the patient's urine contacting the strips,

colored linesappearindicating eithera positive or negative resultfor each of the drug classes

tested.


          108.     The Fredericksburg office is the training office for National Spine's medical

assistants. Relator witnessed the office manager and medical assistants at Fredericksburg train

medical assistants from several other offices to collecta urinesample from every opioid therapy

patient during eachvisit andthenperform a qualitative twelve panel test on each sample and

send each sample to an outside lab for quantitative testing.

          109.   National Spine included the following standard language in opioidtherapy

patients' charts:

          Qualitative Urine Drug Screen
          Indication
          Urine drug testing was performed today as part of a monitored opioid treatment
          program for chronic pain. The patientsignedan opioid contract priorto initiating
          treatment, which requires random urine drug testing to ensure compliance. The
          test determines the presence or absence of prescribed drugs or of nonprescribed
          substances, and detects illicit substances and adulterated urine samples. ...
          (Emphasis added).

          Method
          Thepatientprovided a urine sample on-site. The sample will be securely
          transported to our central qualitative laboratory for immunoassay analysis. The
          drugs to be tested include: amphetamine, barbiturate, benzodiazepine, cocaine,
          ecstasy, methadone, methaqualone, opiate, PCP, heroin, alcohol, and THC.

          110.   Although the disclosure claimsthat National Spinewill conduct"randomurine

drug testing," National Spine actually tests patients during each visit for numerous drug classes

in order to maximize its revenue.




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        111.   Performing a twelve panel qualitative drug testonallpatients during each office

visit without regard for their individual medical conditions is medically unnecessary.

        112.   This is especially true where, as is the case at National Spine, the patient

populations carry a lower risk of abuse or diversion of opioids. A large percentage ofNational

Spine's opioid therapy patients are either working class adults, who are already subject to drug
testing by their employers, orretirees,^ Moreover, National Spine only treats adults.
        113.   In addition to being unnecessary, the twelve panel qualitative drug test is, in some

respects, worthless because patients may also drink alcohol or take drugs, such as amphetamines,

barbiturates, orbenzodiazepines, that normally have no impact on the opioid therapy treatment
plans setbyNational Spine's physicians. Similarly, many National Spine physicians will

continue to prescribe opioids to patients who testpositive for THC or marijuana.

        114.   And while a positive test result for cocaine, MDMA, heroin, or methadone could

cause National Spine'sphysicians to refuse to continue a patient's opioid therapy, from Relator's

experience, a positive testresult for these illicit substances was extremely rare. Relator witnessed

positive tests for cocaine on only two occasions, and she never saw a single patient test positive
forMDMA. Moreover, with regard to methadone, which is used to treat anexisting addiction to

heroin, Relator only witnessed two patients test positive for methadone, and, in both cases, the

physician was already aware that the patient was taking methadone to treat a heroin addiction.

Relator estimates that although approximately 400 opioid therapy patients were treated at

National Spine's Fredericksburg office each month, during themore than three years that she


    ^According to a 2012 survey by the federal Substance Abuse and Mental Health Services
Administration, only about one of 1,000 seniors (0.1%) abuse orare addicted to illicit drugs,
including marijuana. See Doctors Cash In On Drug Tests For Seniors, And Medicare Pays The
Bill, Wall St. J.,Nov. 10, 2014 (http://www.wsj.com/articles/doctors-cash-in-on-drug-tests-for-
seniors-and-medicare-pays-the-bill-1415676782).


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worked atthe Fredericksburg office there were only two instances ofpatients attempting to
divert medication. Similarly, it was highly unusual for patients to exhibit aberrant behavior, such

as withdrawal symptoms or suspicious requests forrefills, according to Relator.

        115.    After the Merger, Wisor mformed all providers andoffice managers via an email

that Sentinel directed National Spine to perform the twelve panel qualitative drug screening on
all opioid therapy patients each office visit. Indeed, Wisor characterized the mandatory, repeated
drug screenings as"low hanging fruit" because they are a guaranteed way to generate revenue

forNational Spine and cash bonuses for employees.

        116.   Making matters worse. National Spine additionally requires that its medical

practitioners also order confirmatory quantitative drug testing for every opioid therapy patient

during each office visit. Thus, during each opioid therapy patient visit, after performing the

twelve panel qualitative drug screening, the medical assistant transfers thepatient's urine sample

into a sealable cup and sends it to an outside lab to re-test for the same drug classes that National

Spine already tested for as well as nicotine. And so.National Spine even re-tests for drug classes

that the patient didnotreport taking and for which the in-office qualitative test result was

negative. On information and belief. National Spine billsthe government for collecting the

sample that it sends for quantitative testing.

        117.   In addition to being duplicative, the quantitative tests are medically unnecessary

and, in some cases, worthless for allthe same reasons thattheregular, blanket qualitative drug

tests are medically unnecessary. The nicotine tests are entirely worthless because nicotine

consumption does not affect the patient'streatment plan. Furthermore, hereagain. National

Spine eventests patients who acknowledge that they are smokers.




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          118.    As confirmed bythe LCDs, indiscriminate drug screenings thatare performed

pursuant to a blanket order on every opioid therapy patient during each office visitarenot

medicallyreasonable and necessary.

          119.    In fact. National Spine prescribes, and in many cases also dispenses, another

month's supply ofthe opioid tothe patient during the ofSce visit and before receiving the report
from the outside lab regarding the results ofthe drug tests (National Spine typically does not
receive theresult of theurinalysis until one to two days after thetest). This evidences thatthe

urinalysis results are not being utilized to manage the patient's opioid therapy and instead are

administered solely to generate revenue. According to the Relator, National Spine's physicians
neverevenreview the results of the urinalysis. And, inasmuch as National Spine did not train

mid-level providers onhow to read thetestresult reports thatthe outside lab provided, the test

results were meaningless to the mid-level providers.

          120.   To falsely create the appearance thatit only orders quantitative drug testing when

it is medically necessary. National Spine includes the following language in patients' medical

charts:


          Quantitative confirmation may be indicated when the result of the qualitative test
          is different thanthat suggested by thepatient'smedical history, clinical
          presentation, or patient's ownstatement or there is a positive inconsistent findings
          [sic] from the previouslyperformed qualitative test.

          121.   Relator estimates thatthe Fredericksburg office alone administered approximately

400 in-house twelve panel qualitative drug screenings and ordered 400 duplicative quantitative

drug tests per month.




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         122.   From in or aroxmd March 2012 to early 2013, National Spine required that all

quantitative drug test orders be sent to Millennium Health.^ In early 2013, National Spine began
requiring thatall quantitative drug testorders be sentto Aegis Sciences. Indeed, Aegis Sciences

leased a small space within the National Spine offices where it collected urine samples and sent

them to its off-site laboratory for testing. In July 2013, National Spine ceased using Aegis

Sciences and began sending allquantitative drug testorders exclusively to Meditech, which is

also the exclusive supplier of orthopedic braces to National Spine's patients.

        123.    The outside laboratory that performs the unnecessary quantitative and/or

confirmatory testing bills the government healthcare programs for these tests. The government's

cost for these tests can be as much as $1,800.^ Defendants caused the submission of these

expensivebills for unnecessary and worthless drug tests.

        124.    To monitor the various offices' compliance with its testingrequirements. National

Spine tracks howmany in-house qualitative tests are administered by each office, each day. It

also tracks how many off-site quantitative tests eachoffice orders eachday.

        125.    If an office fails to administer a drugtest to every opioidtherapy patientwho

visits the office, National Spine's corporate management instructs the office manager to ensure

that all medical assistants administer drug tests for all opioid therapy patients on each visit. In

addition, National Spine's Director of Human Resources, Mona Janke, metwith office managers

each month to review the office's drug testing volume.

     ^The U.S. Department ofJustice has accused Millennium Health ofbilling Medicare for
unnecessary drug tests. On June 14, 2015, the Wall StreetJournal reported that Millennium
Health was negotiating a settlement with the government under which it would be required to
pay approximately $250 million to the government. See LabNears Settlement Over Pricey
Medicare Drug Tests, Wall St. J., June 14, 2015 (http://www.wsj.com/articles/lab-nears-
settlementover-pricey-medicare-drug-tests-1434326131).
    ^When insurers refiise to pay the outside laboratory's bill, the lab bills the patients. Some
patients pay the bill, while others ignore it.


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         126.    National Spine rewards the office that administers the highest volume of drug

tests each week with gift cards, cash prizes, and free meals at restaurants.

         127.    To incentivize offices to perform qualitative and quantitative drugtests on every

patient, National Spine considers drug testing volume and sample collection rates in determining

the amount of employee bonuses. If an office fails to collect urine samples from each opioid

therapy patient, National Spine penalizes the employees by withholding bonuses from that office.

In addition, the office manager reprimands the staff. When the Fredericksburg office had a 60%

collection rate in the fall of 2012, National Spine withheld bonuses from the office manager and

medical assistants.


        128.     Examples of government healthcare program beneficiaries who underwent

unnecessary drug tests during office visits that occurred between March and June 2013 at the

Fredericksburg office include:


                           AJ                                          Medicare
                           AN                                          Medicare
                           AS                                          Medicare
                           CF                                          Medicare
                           CH                                          Medicare
                           CS                                          Medicare
                           SE                                          Medicare


        129.    It should be notedthat, unless a patientrequests Wisor to taperthe dosage of their

opioid, he will keep them on the full dosage so they will continue coming backto the office for

re-fills and drug tests.

         CapitolSpine had a similar blanket order under which employees administered
   unnecessary aualitative dru2 tests on every ovioid therapy patient durins each office visit

        130.    Before the Merger, Capitol Spineperformed a four panel qualitative drug

screening on every opioid therapy patient during each office visit. Capitol Spine always tested

for amphetamines, cocaine, opioids, and THC.


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        131.    Capitol Spine also ordered a twelve panel quantitative testfrom Meditech for

every patient during each office visit.

        132.    This corporate-wide policy was inplace when Relator joined Capitol Spine in

March 2010.

E.      National Spine Fraudulently Bills The Government For Ultrasounds That Are Both
        Medically Unnecessary And Worthless And Are Olften NotEvenActually
        Performed


        133.   National Spine treats a significant number of patients who experience back or

neck pain orpain intheir hips, knees, or other joints with anesthetic and/or steroid injections.

        134.   When performing certain injections in the back or neck physicians frequently

utilize fluoroscopic^ guidance to ensure proper placement ofthe needle and accurate delivery of
medication to the joint area.

        135.   Only trained andcertified physicians, qualified medical physicists, registered

radiologist assistants, radiologic technologists, and radiation therapists are permitted to perform

fluoroscopy.

        136.   Consequently, at National Spine physicians perform all paininjections that

require fluoroscopic guidance, such as back and neck injections, and mid-level providers usually

perform the injections thatdo notrequire fluoroscopic guidance, including knee, hip, ankle,

finger, thumb, and wrist injections.

       137.    In or around the summer of 2012, Medicare stopped reimbursing for fluoroscopic

guidance performed inconjunction with sacroiliac (SI) joint injections because the guidance was
notmedically necessary. To avoid the resultant drop offin revenue caused by this change,

National Spine instructed physicians to perform ultrasonic guidance for SIinjections.

     Fluoroscopy is a type of medical imaging thatshows a continuous x-ray image ona
monitor, much like an x-ray movie.


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        138.   Starting in or around the Fall of 2012, to compensate for the loss of revenue

caused by Medicare's refusal to pay for fluoroscopic guidance in connection with SI injections

and to increase its profitability on other injections. National Spine instituted a policy requiring

that physiciansand mid-level providers bill for ultrasound guidance on everyjoint injection

where the government healthcare programs will not cover fluoroscopy.^

        139.   At all relevant times, the reimbursement amoimt for ultrasound guidance for

needle placement (CPT Code 76942) has been approximately $207. For each ultrasonic guidance

performedthe provider must add to patient's medical record images of the site to be localized as

well as a documented description of the localization process.

       140.    To qualify for coverage by the government healthcare programs, ultrasonic

guidance must be medicallyreasonable and necessary for proper needle placement.

       141.    The government has specifically directed that ultrasound guidance will not be

covered if administered in connectionvsath certain injections. For example,the Part B MAC for

Florida directs that ultrasounds will not be covered for knee injections:

           Imaging procedures performed routinely for the purpose of visualization of
           the knee to provide guidance for needle placement will not be covered.
           Fluoroscopy may be medically necessary and allowed if documentation
           supports that the presentation of the patient's affected knee on the day of the
           procedure makes needle insertion problematic. No other imaging modality
           for the purpose of needle guidance and placement will be covered.

LCD L29307 (emphasis added).

       142.    In mid-2012, before the ultrasound policy was instituted, Wisor, who at the time

was National Spine's President, sent Relatorto National Spine's office in Bel Air, Maryland, to

learnhow Dr. Jeffrey Schneider integrates ultrasounds into his pain management practice. Dr.


    ^There are no certification or credentialing requirements for physicians or mid-level
providers to perform a non-diagnostic ultrasound, including for needle placement.


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Schneider was one of only a few National Spine physicians who was formally trained on

performing ultrasonic guidance and regularly utilized ultrasonic guidance inperforming joint

injections.

        143.   Thereafter, Wisor helda meeting with all National Spine physicians advising

them to incorporate ultrasounds into their practices as another way of increasing revenue. Wisor

placed Gordon in charge of developing a corporate policy requiring that an ultrasound be

performed with every jointinjection in which fluoroscopic guidance would notbe eligible for

coverage. Gordon in turn tasked Relator, Dr. Baljinde Brar, and Dr. Joshua Thomas with

implementing the policy at the offices located in Northern Virginia.

       144.    In connection with this new corporate policy, Sentinel purchased an ultrasound

machine for eachNational Spine office. That National Spine'sand Sentinel's objective in

instituting the ultrasound policy wasto generate more revenue fi:om injection procedures is

demonstrated by (i) the shoddy quality of the suspiciously low-priced ultrasound equipment

purchased for andused by eachoffice; and (ii)the lackof training National Spine provided to

physicians and mid-level providers regarding ultrasonic guidance.

       145.    National Spine and Sentinel equipped each office with a laptop ultrasound

scanner manufactured by Wuhan Tianyi Electronic Co., Ltd. of China. A picture of the laptop

ultrasound scannercan be viewed on the next page.




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          146.   Wisor directed National Spine's Facilities Manager, Kevin Gartland, to purchase

the cheapest ultrasound machine available because he was concerned that the government

healthcare programs and otherinsurers may soon stop reimbursing for ultrasound needle

guidance in whichcaseNational Spine would have no use for the equipment. In accordance with

Wisor's instruction, Gartland purchased the Wuhan Tianyi Electronic laptop ultrasound scarmer

for $700 per scanner from Rising Medical Co., Ltd.

         147.    Sentinelpaid for the ultrasoundequipment. In general, National Spine offices are

required to obtain Sentinel's approval before incurring any material costs.


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         The cost of an ultrasoundmachine of average quality is approximately $35,000.


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          148.   The image quality ofthe Wuhan Tianyi Electroniclaptop ultrasound scanner is of

such poor quality that physiciansand mid-levelproviders could not even see the needle on the

screen.



          149.   Accordingly, National Spine's providers did not use the ultrasound for needle

guidance. In accordance withNational Spine's directives, however, the providers reported

utilizing ultrasonic guidance andbilled for it. And, National Spine instructed the providers to

take a picture of the ultrasound probe next to thejoint and create a false patient noteso that, in

the event that the government audits the false bills, it will appear as though National Spine really

utilized ultrasonic guidance for the injections.

          150.   Moreover, evenif the needle could be seenon the low-quality laptop ultrasound

scanners, National Spine didnot want to incur the costof properly training the physicians and

mid-level providers on howto use ultrasounds for needle guidance. National Spine refused to

pay for training and directed that any training should not conflict with employee work schedules.

          151.   AfterRelator and othermid-level providers insisted that they receive training,

Wisor and Friedlis required thatallphysician assistants attend a mandatory ultrasound training

session with Dr. Schneiderin January 2013 at the Fairfax office. Those who attended the

meeting included Gordon as well as Drs. Brar, Robinson, Davis, Kim, Badiola, Balint, Sloan,

Whittenberg, Kenneith, and Davine, andphysician assistants Deborah Nelson, Valerie Holznech,

Laura Ricard, and Jennifer Slating. Tellingly, during the training session. Dr. Schneider used a

much higher quality machine thanthe worthless machine Sentinel put in the other offices.

          152.   To incentivize providers to report using ultrasonic guidance forjoint injections,

National Spine included ultrasonic guidance revenue as one of the factors that determined the

amount of their bonus. {See paragraphs 49 & 50 above).




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        153.    Relatorsharedthe ultrasound machine in the Fredericksburg office with Dr. Costa

Soteropoulos. Dr. Soteropoulos told Relator that he was required to report performing a set

number of injections with ultrasonic guidance each dayto be eligible for a bonus.

        154.    At the time that Relator ceased working for National Spine in June 2013,

physicians andmid-level providers were performing unnecessary ultrasonic guidance with every

injection or else billing for ultrasonic guidance eventhoughthey did not - and indeed couldnot

- perform ultrasonic guidance.

        155.    Examples of beneficiaries of the government healthcare programs who

purportedlyreceived ultrasonic guidance between August and September2012 that was billed

under Wisor's name include:



                        RB                                              Medicare
                        CC                                              Medicare
                        CL                                              Medicare
                        HT                                              Medicare
                        TS                                              Medicare
                        TS                                              Medicare


F.      National Spine Prescribes Orthopedic Braces To Patients Regardless Of Need Or
       Proper Fit

        156.   In spite of the fact that the government healthcare programs only cover items that

are "reasonable and necessary for the diagnosis or treatment of illness or injury," 42 U.S.C. §

1395y(a)(l)(A), National Spine requires practitioners to prescribe orthopedic braces, most

predominantly back and knee braces, as they are the mostexpensive, to all patients with back,

neck or joint pain regardless of whether the patients need, or will benefit fi-om, a brace.

       157.    National Spine trained practitioners, includingRelator, to "sell" the braces to the

patients by telling them that the government healthcare programs will covermost of the cost of

the braces. National Spine collected any deductibles or co-pays for the braces.



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        158.   National Spine orders all orthopedic braces from Meditech, LLC, whose principal

place of business is 6820 Hospital Drive, Suite 302, Rosedale, Maryland 21237, which is the

same address as National Spine's "White Marsh" office.

        159.   From August 2012 to February 2013, Meditech rented space within National

Spine offices and placed a representative in the offices to fit patients for the orthopedic braces

and process the orders. After Meditech and National Spine ceased this practice, National Spine's

medical assistants or mid-levelproviders became responsible for fitting patients for the braces.

However, National Spine never trained the medical assistants and mid-level providers on proper

brace selection or properly fitting braces. As a result, patients frequently return the brace to

National Spine, complaining that it did not fit correctly or oftentimes that it worsenedtheir pain.

        160.   National Spine incentivized providers to sell the braces by making sales volume a

factor in how bonuses are calculated. (Seeparagraphs49 & 50 above).

        161.   Before the Merger, Friedlis sent a weekly email to all Capitol Spine physicians

and mid-level providers directing them to sell more braces. These weekly emails also ranked

physicians according to the number of braces they and their mid-levelproviders sold during the

prior week. National Spine likewise tracked how many fittings medical assistants and mid-level

providers performed.

       162.    After the Merger,National Spine provided office managerswith a monthly

orthopedic brace sales report that was broken down by office, physician, and mid-level

providers. Office managers would then reviewand discuss the results with the providers.

       163.    Similarly, Wisor maintaineda spreadsheeton his office computerthat he used to

showotherphysicians how they couldgenerate morerevenue. Withrespect to orthopedic braces,




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the spreadsheet stated that each back brace generates $900 to $1,100 in revenue. The spreadsheet

also tracked how many orthopedic braces each office sold.

        164.    When a mid-level provider prescribed an orthopedic brace. National Spine billed

for it as though the patient's physician prescribed the brace. But, because so many braces were

being billed under physicians' names, National Spine later switched to billing for the braces

under each office's Medicare number in order to conceal the scheme from the government.

        165.    Defendants caused Meditech to submit claims to the government healthcare

programs for the unnecessary and often worthless back braces.

        166.    Examples of beneficiaries of the government healthcare programs to whom

National Spine prescribed an unnecessary and/or worthless back brace include:

                                  iSi®^p1pMxim^e*l|a te           i.' ft   -t V' *.{""Insurer
                EN                         Aug. 13,2012                           TRICARE
                NT                         Sep. 10,2012                            Medicare


G.      Schedule II Narcotics Were Routinely Illegally Dispensed From The In-House
       Pharmacy At The Frederieksburg Office

        167.    In early to mid-2012. National Spine opened an in-house pharmacy at the

Frederieksburg office so that it could dispense opioids, which are Schedule II controlled

substances     to workers' compensationpatients, including patients covered by the Federal

Employees' Compensation Program.

        168.    From mid-2012 until early 2013, Wisor was the only physician at the

Frederieksburg office who was licensed by the Virginia Board of Pharmacyto sell controlled



       ScheduleII substances have a high potential for abuse with severe psychological or
physical dependence.
      National Spine also opened an in-house pharmacy at the Glen Allen office around that
same time as it opened the pharmacy at the Fredericksbxirg office. It already had in-house
pharmacies at several other offices.


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substances. In early 2013, Drs. Christopher Gay andCosta Soteropoulos also obtained licenses to

sell controlledsubstances at the Fredericksburg office.

        169.   Under Virginia law, Drs. Wisor, Gay, and Soteropoulus were personally

responsible for the selection, preparation, packaging, and dispensing of drugs from the

Fredericksburg office. See 18 Va. Admin. Code § 110-30-40(A). Before dispensing any

medication from thepharmacy, Drs. Wisor, Gay, and Soteropoulus were also required to:

        1. Conduct a prospectivedrug review and offer to counsel a patient in
           accordance with provisions of § 54.1-3319 of the Code ofVirginia; and

        2. Inspectthe prescription product to verify its accuracy in all respects, and place
           his initials on the record of sale as certification of the accuracy of, and the
           responsibility for, the entire transaction.

18 Va. Admin. Code § 110-30-40(B)^^; accord Va. Code Ann. § 54.1-3319.

        170.   Additionally, inasmuch as National Spine did not employ a registered pharmacy

technician or a nurse or physician assistant trained in pharmacy techniciantasks, no one other

than Drs. Wisor, Gay, and Soteropoulus were allowed to be present in the controlled substances

selling and storage area withinthe Fredericksburg office. See 18Va. Admin. Code § 110-30-

40(A). Similarly, no oneother thanDrs. Wisor, Gay, and Soteropoulus could have the keys or

alarm codefor the selling and storage area. See 18 Va. Admin. Code § 110-30-130(A).

        171.   In violation of Virginia law, Drs. Wisor, Gay, and Soteropoulus routinely allowed

office manager Tanya Almaas and medical assistant Sara Sparks, neither of whom were certified

pharmacy technicians, to be present in the controlled substances storage and selling areas as well

as to prepare and dispense opioids and othernarcotics fromthe pharmacy. See Va. Code Ann. §§

54.1-3320, 3321(A). In fact, the physicians gaveMs. Ahnaas and Ms. Sparks keysto the

       If the record of sale is maintained in an automated data processing system, the licensee
shall personally place theirinitials witheachentry of a saleas a certification of the accuracy of,
andthe responsibility for, the entire transaction. 18 Va. Admin. Code § 110-30-40(C).


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controlled substance storage and selling area as well as the access code to disable the alarm on

the medicine closet and allowed them to function as licensedpharmacists.

        172.   In addition, on most days, Ms. Almaas or Ms. Sparks opened and closed the

pharmacy in the Fredericksburg office as well as inventoriedthe medicine supply. On many of

these days, no physician was present in the office. The various reports required under Virginia

and federal law {see, e.g., Va. Code Ann. § 54.1-3404; 18 Va. Admin. Code § 110-30-180; and

21 C.F.R. §§ 1304.21 & .22(c)), that the pharmacy used to record the inventory as well as the

receipt, sale, and dispensing of controlled substances, were falsified to make it appear as though

Wisor prepared the reports and managed the pharmacy. On numerous occasions, Relator

witnessed Ms. Sparks complete the required reports before providing them to Wisor who would

sign them despite having no knowledge of their accuracy. When Wisor was out of the office, he

signed the reports after he returned.

       173.    In addition to the significant risk of harm to patients, Wisor's disregard of

Virginia's rules and regulations for in-house dispensing of controlled substances, substantially

increased the potentialfor diversion and jeopardizedthe public's health and safety.

       174.    Relator expressed concernsto Wisor and Ms. Almaas about the illegal dispensing

of opioids fi-om the pharmacy, but the practice continued. In March 2013, Wisor instructed

Relatorto "stay in your lane and let Tanya [Almaas] deal with the dispensing issue."

       175.    Moreover, for all drugs that Relator ordered to be dispensed by the

Fredericksburg pharmacy, Wisor directed Relator to leave the prescription in his inbox. He

would later sign the prescriptions to make it appear as though he prescribedthe medications.

Whenhe was out of the office, Wisorsignedthe prescriptions after he returned. In fact, the




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Fredericksburg office's pharmacy routinely dispensed medications to Wisor's patients while he
was out of the office. (See paragraphs 67-72 above).

        176.    In addition, in violation of 18 Va. Admin. Code § 110-30-170, National Spine
failed to inform workers' compensation patients that they have the right to choose where they
have their prescription filled —i.e., atanindependent pharmacy or atNational Spine's
pharmacy.

        177.   If the government healthcare programs had beenaware thatthe opioids and other

controlled substances thatthe beneficiaries received from the Fredericksburg office were

dispensed illegally, they would have denied the requests forpayment for the medications.

H.     National Spine Performs Medically Unnecessary Spinal Cord Stimulator Trials On
       Patients Who Are Poor Candidates For Permanent Therapy

        178.   Spinalcord stimulation ("SCS") is a treatment for chronic pain that uses a mild

electric shockcurrent to blocknerve impulses in the spine. Medicare will cover SCSfor relief of

chronic intractable pain. SCS therapy consists of a short trialwitha percutaneous implantation of

neurostimulator electrode(s) in the epidural space for assessing the patient's suitability for

ongoing treatment with a permanent surgically implanted nervestimulator.

       179.    The Medicare Part B MAC for Virginia provides the following directives with

regard to SCS therapy:

       Selectionofpatients for implantation of spinal cord stimulators is criticalto success of
       this therapy. SCS therapy should be consideredas a late (if not last) resort after more
       conservative attempts such as medications, physical therapy, surgery, psychological
       therapy or other modalities have been tried.

       Patients musthave undergone careful screening, evaluation and diagnosis by a
       multidisciplinary team prior to implantation. (Such screening must include psychological.


      National Spine also directed providers to makedrug selection decisions basedon the
inventory levels in the office pharmacy.


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       as well as physical evaluation). Documentation of the history and careful screening must
       be available in the patient chart if requested. Patients being selected for a trial
       •   Must not have active substance abuse issues.
       •   Must undergo proper patient education, discussion, and disclosure including aa
           extensive discussion of the risks and benefits ofthis therapy.
       •   Must undergo appropriate psychological screening.

                                                     ***


       It is expected that accurate patient selection will lead to most patients going on to receive
       permanent implants. Only patients who experience a positive response to a trial should
       proceed to a permanent implantation. All trials which proceed to permanent implant must
       have adequate documentation in the chart to support that decision. A successful trial
       should be associated with at least a 50% reduction of target pain, or 50% reduction of
       analgesic medications, and show some element of functional improvement. (Patients with
       reflex sympathetic dystrophy may, show lower levels of improvement since it takes longer
       periods for improvementthan the typical 1-2 week trial). Physician judgment and
       experience will also be taken into account.

LCD L32549.


       180.    A psychologicalscreening is a prerequisite to coverage because psychological

factors suchas somatization, depression, anxiety, and poor coping are predictors of a poor

outcome following SCS.

       181.    National Spine performs all psychologicalevaluations by administering the

Battery for Health Improvement2 (BHI2) via a computerprogram in the office rather than

referring the patientto a psychologist or psychiatrist. Before the Merger, Capitol Spine similarly

performed psychological evaluations via a computerized test.

       182.    St. Jude Medical, who manufactures SCS devices, recommended to Wisor that

National Spine discontinue its practice of performingthe psychological evaluation internally and

to instead have an independent psychologist or psychiatrist perform the evaluations. National

Spine chose not to follow St. Jude's recommendation.

       183.    National Spine lowersthe standards on the computer test thereby expanding the

pool of patients who can receive the costly SCStrial. As Gordon expressed in a September 10,




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2010 email to all physicians and physician assistants at Capitol Spine, "[t]he goal is to avoid

using a psychcode, which may come backto hauntus whenwe try to get reimbursed for the

trial."


          184.   As a result. National Spine implants a trial SCS in manypatients who are not

appropriate candidates for SCS therapy. The low success rate of the SCS trials, coupled withthe

fact that only a small percentage of patients ultimately receive a permanent implant, evidences

thatNational Spine performs these trials onpatients who are unlikely to continue the therapy.

          185.   Notably, Wisor implanted an SCS device in approximately 30 patients per month,

including at times for indications for which SCS devices are not approved by the FDA. Relator

estimates that more thanhalf of these patients were beneficiaries of one of the government

healthcare programs. In contrast, other National Spine physicians were implanting spinal

stimulators in only approximately two to three patients per month. National Spine's Board was

concerned that Wisor's highvolume of SCS procedures was going to leadto a government audit.

I.        National Spine Fraudulently Billed The GovernmentFor Unnecessary
          Radiofrequency Ablation Procedures

          186.   Radiofrequency Ablation (a/k/a radiofrequency neurotomy, facet rhyzotomy, or

lesioning) ("RPA") is a treatment for chronic spinal joint pain that involves generating heat with
a radio wave and applying that heat to a spinal sensory nerve. The treatment, which isapplied

with a needle-like tube that punctures the skin, is intended to create a lesion in a spinal sensory
nerve in order to interrupt the transmission of pain signals from spinal sensory nerves to the

brain. See Medical Policy, Radiofrequency Ablation for Chronic Spinal Pain, UCare Clinical

& Quality Manag., Jan. 1,2015 available <3/https://www.ucare.org/providers/Resources-

Training/Medical-Policy/Documents/Radiofrequency%20Ablation%20for%20Chronic -
%20Spinal%20Pain.pdf



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        187.    RFAs were a significant source of revenue forNational Spine andCapitol Spine.

FromMarch 2010 until late 2011, Relator observed Wisor perform, on average, aboutten RFA

procedures per week. But Relator routinely witnessed behavior by Wisorduring the RFA

procedure that appeared calculated to drive revenue rather than treat a medical condition. For

everypatientthat was scheduled to have an RFA procedure performed on a spinal "level"

location, Wisor would treat an additional level. For instance, if a patient was scheduled for an

RFAlevel 3, Wisor would treatboth levels 3 and 4 while the patient was on the operating table.

For almost every RFA patient Relator observed, an extra"level"wastreated and presumably

billedto government healthcare programs by Capitol Spine and National Spine. In otherwords,

additional levels were treated with RFA without first assessing whether the initial level had

effective results.


        188.    According to National Spine's website, RFA is "usually effective after one

treatment" and may be repeated annually or every six months. Id. However, according to Relator,

the RFAs performedat National Spine were not usually effective after one treatment. Rather,

almost all patients Relator observed who received RFA treatment came back for at least a second

RFA treatment. A significant percentage - Relator estimates 30% to 40% of the patients she saw

- came back for two additional RFA procedures.

        189.    In late 2011, the government healthcare programs began denying several claims

for reimbursement for RFA procedures submittedby National Spine based on one or more of the

following grounds:

       • The physician failed to perform a medial branch block before performing theRFA^^;


      The government healthcare programs require that a medial branch block procedure be
performed on all patients before an RFA procedure. The medial branch blockprocedure
determined whether a patientwould benefit from an RFAprocedure.


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        • Thephysician was repeating the RFA despite poorresults withprevious procedures;

        •   The physician failed to wait the requisite amount of time between procedures; or

        •   Thephysician performed the RFAwithout submitting a letterof medical necessity.

         190.    As a result. National Spine did not seekpayment for manyRFA procedures, as it

knew they could not be justified as being medically necessary.

        191.     Shortly thereafter, during the Thursday meetings, Wisor instructed National

Spine's physicians that they need to document medical necessity for each "level" treated in an

RFAprocedure. Similarly, Gordon gavethe same instruction to the mid-level providers during

theirmeetings. National Spine also made an RFA billing guide available to the providers.

        192.    Through company meetings, including a May 2013 meeting focused on billing

andcompliance, as well as corporate-wide emails, it was apparent to Relator thatNational Spine

continued being aggressive in performing RFAprocedures evenafter the government started

scrutinizing its RFA claims more closely.

J.      National Spine Fraudulently Bills The Government For Unnecessary Pain Injections

        193.    Under pressure to generate revenue, providers frequently administerpain

injections to patients who do notneedthem. Oftentimes it will be noted thatthe patient reported

feeling a pain level of zero or one (very low) or thatthe patient experienced no relieffrom a prior

injection but yet the provider administers another injection to the patient to generate revenue.

                                          VI. COUNTS


                                            COUNTI
                          FEDERAL FALSE CLAIMS ACT VIOLATIONS
                                    31 U.S.C. § 3729(a)(1)(A)

        194.    Relator hereby incorporates and re-alleges paragraphs 1 through 193 as though

fully set forth herein.




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        195.   Defendants NSPC, CFPM, Capitol Spine,NSPC Holdings, Manhattan Spine, and

New York Spine, by and through their agents, officers, employees, and principal owners,

including defendants Sentinel, Dey, Fabian, Friedlis, Gordon, Lobel, Loev, Murphy, Wisor, and

Zuckerman, have violated 31 U.S.C. § 3729(a)(1)(A) by engaging in the following fraudulent

schemes, among others, that are alleged herein:

               (a)     knowingly presenting or causing to be presented false or fraudulent claims

to the government healthcare programs for payment for services furnished by mid-level

providers as though the serviceswere provided by the ordering physician even though the

services did not qualify as incident to services;

               (b)     knowingly presenting or causing to be presented false or fraudulent claims

to the governmenthealthcareprograms for payment for evaluation and management services

furnished to opioid therapy patients that were both medically unnecessary and worthless;

               (c)     knowingly presenting or causing to be presented false or fraudulent claims

to the government healthcare programs for payment for evaluation and management services

furnished to opioidtherapy patients that were falsely characterized as involving "moderate

complexity";

               (d)     knowingly presenting or causing to be presented false or fraudulent claims

to the government healthcare programs for payment for qualitative and quantitative drug tests

that were both medically unnecessary and worthless;

               (e)     knowingly presenting or causing to be presented false or fraudulent claims

to the government healthcare programs forpayment for ultrasounds that were bothmedically

unnecessary and worthless and often not even actually performed;




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                (f)     knowingly presenting or causing to be presented false or fraudulent claims

to the government healthcare programs for payment for orthopedic braces the were medically

unnecessary and/or worthless; and

                (g)     knowinglypresenting or causing to be presented false or fraudulent claims

to the government healthcare programs for payment for Schedule II narcotics thatwere illegally

dispensed from the Fredericksburg, Virginiaoffice.

        In connectionwith all of the false and fraudulent claims submitted on Form CMS-1500,

NSPC, CFPM, Capitol Spine, NSPC Holdings, Manhattan Spine, and/or NewYork Spine, by and

through their agents, officers, employees, andprincipal owners, including defendants Sentinel,

Dey, Fabian, Friedlis, Gordon, Lobel, Loev, Murphy, Wisor, andZuckerman, knowingly made

the following false certification:

       In submitting this claimfor payment from federal funds, I certify that: 1)the
       information on this form is true, accurate and complete; 2) I have familiarized
       myself with all applicable laws, regulations, and program instructions, which are
       available from the Medicare contractor; 3) I have provided or willprovide
        sufficient information required to allow the government to make an informed
       eligibility and payment decision; the services on this form were medically
       necessary and personally frimished by me or were furnished incidentto my
       professional service by my employee undermy direct supervision, exceptas
       otherwise expressly permitted by Medicare or TRICARE; 6) for each service
       rendered incidentto my professional service, the identity (legal name and NPI,
       license #, or SSN) of the primary individual rendering eachservice is reported in
       the designated section. For services to be considered "incident to" a physician's
       professional services, 1)they mustbe rendered underthe physician's direct
       supervision by his/heremployee, 2) they mustbe an integral, although incidental
       part of a coveredphysician service, 3) they must be of kinds commonly furnished
       in physician's offices, and 4) the services of non-physicians must be included on
       the physician's bills.

Similarly, in presenting all of the alleged false and fraudulent claims, or causing the claims to be

presented, the Defendants have also impliedly certified that all prerequisites for coverage and

payment were met.




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        196.    In engaging in the conduct alleged above, the Defendants acted "knowingly" as

that term is defined in 31 U.S.C. § 3729(b)(1), in that they acted with actual knowledge,

deliberate ignorance, or reckless disregard of the truth or falsity of the information.

        197.    The United States, unaware of the foregoing circumstances and conduct, and in

reliance on the truth and accuracy of the claims for payment, paid or authorizedpayment of those

claims and has been damaged in an amount to be proven at trial and is therefore entitled to treble

damages under the FCA plus a civil penalty of $5,500 to $11,000 for each violation.

                                               COUNT II
                          FEDERAL FALSE CLAIMS ACT VIOLATIONS
                                       31 U.S.C.§ 3729(a)(1)(B)

        198.    Relator hereby incorporates and re-alleges paragraphs 1 through 197 as though

fully set forth herein.

        199.    Defendants NSPC, CFPM, Capitol Spine, NSPC Holdings, Manhattan Spine, and

New York Spine, by and through their agents, officers, employees, and principal owners,

including defendants Sentinel, Dey, Fabian, Friedlis, Gordon, Lobel, Loev, Murphy, Wisor, and

Zuckerman, have violated 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using, or caused to

be made or used, false records or statements material to claims for reimbursement paid by the

government healthcare programs for, among other things, up-coded and/or unnecessary services,

unnecessary and worthless drug tests, unnecessary and worthless ultrasounds, unnecessary and

worthless orthopedic braces, and illegally dispensed schedule II narcotics, including, but not

limited to:


                (a)       false patient notes, orders, and opioid prescriptions;

                (b)       misleading photographs of the ultrasound scanner next to patients'joints;

and




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                (c)       false and misleading certifications on each Form CMS-1500 submitted.

        200.    In engaging in the conductallegedabove, the Defendants acted "knowingly" as

that term is defined in 31 U.S.C. § 3729(b)(1), in that they actedwith actual knowledge,

deliberate ignorance, or reckless disregard of the truth or falsity of the information.

        201.    The United States, unaware of the foregoing circumstancesand conduct, and in

reliance on the truth andaccuracy of the claims for payment, paidor authorized payment of those

claims and has been damaged in an amountto be proven at trial and is therefore entitled to treble

damages under the FCA plus a civil penalty of $5,500 to $11,000for each violation.

                                            COUNT III
                          FEDERAL FALSE CLAIMS ACT VIOLATIONS
                                     31 U.S.C. § 3729(a)(1)(C)

        202.    Relator hereby incorporates and re-alleges paragraphs 1 through 201 as though

fully set forth herein.

        203.    Defendants NSPC, CFPM, Capitol Spine, NSPCHoldings, Manhattan Spine, and

New York Spine, by and throughtheir agents, officers, employees, and principal owners,

including defendants Sentinel, Dey, Fabian, Friedlis, Gordon, Lobel, Loev, Murphy, Wisor, and

Zuckerman, agreed to engage in the fraudulent business practices and strategies described herein,

and conspiredto knowingly present or cause the presentationoffalse or fraudulent claims to the

governmenthealthcareprograms for payment for, among other things, up-coded and/or

unnecessary services, unnecessary and worthless drug tests, unnecessary and worthless

ultrasounds, unnecessary and worthless orthopedic braces, and illegally dispensed schedule II

narcotics.


       204.     Accordingly, the Defendants conspired to commit violations of 31 U.S.C. §§

3729(a)(1)(A), (B), and (G) in violation of 31 U.S.C. § 3729(a)(1)(C).




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        205.    The United States, unaware of the foregoing circumstances and conduct, and in

reliance on the truthand accuracy of the claims for payment, paid or authorized payment of those

claims and has been damaged in an amountto be proven at trial and is therefore entitled to treble

damages under the FCA plus a civil penalty of $5,500to $11,000 for each violation.

                                            COUNT IV
                          FEDERAL FALSE CLAIMS ACT VIOLATIONS
                                    31 U.S.C. § 3729(a)(1)(G)

        206.    Relator hereby incorporates and re-allegesparagraphs 1 through 205 as though

fully set forth herein.

        207.    Defendants NSPC, CFPM, Capitol Spine, NSPC Holdings, Manhattan Spine, and

New York Spine, by and through their agents, officers, employees, and principal owners,

including defendants Sentinel, Dey, Fabian, Friedlis, Gordon, Lobel, Loev, Murphy, Wisor, and

Zuckerman, violated 31 U.S.C. § 3729(a)(1)(G) by knowingly making, using, or caused to be

made or used, false records or statements material to obligations to pay money to the United

States and knowingly concealed obligations to pay money to the United States, including, but not

limited to, failing to return the funds that they and others obtained through the false claims

alleged herein as well as the penalties thatthe government healthcare programs would have

imposed had they become aware of the Defendants' fraudulent practices and schemes.

        208.    In engaging in the conduct alleged above, the Defendants acted "knowingly" as

that term is defined in 31 U.S.C. § 3729(b)(1), in that they actedwith actual knowledge,

deliberateignorance, or reckless disregard of the truth or falsity of the information.

       209.     The United States, unaware of the foregoing circumstances and conduct, and in

reliance on the truthandaccuracy of the claims for payment, paidor authorized payment of those




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claims and has been damaged in an amount to be provenat trial and is therefore entitled to treble

damages underthe FCAplus a civilpenalty of $5,500 to $11,000 for eachviolation.

                                 VII. PRAYER FOR RELIEF

       210.    WHEREFORE, Relator, on behalfof the United States, demands thatjudgment be

entered in her favor andagainst all defendants forthe maximum amount of damages andsuch

other relief as the Court may deem appropriate on each Count. This includes three times the

amount of damages to the United States plus civil penalties of no more than ElevenThousand

Dollars ($11,000.00) and noless than Five Thousand Five Hundred Dollars ($5,500.00), for each

false claim, and any other recoveries or reliefprovided for under the FCA.

       211.    Further, Relator requests that shereceive the maximum amount permitted by law

ofthe proceeds ofthis action orsettlement ofthis action collected by the United States, plus

reasonable expenses necessarily incurred, andreasonable attorneys' fees and costs. Relator

requests thatheraward bebased upon thetotal value recovered, both tangible andintangible,

including any amounts received from individuals or entities who are notparties to this action.

                                VIII. JURY TRIAL DEMAND

       A jury trial is demanded in this case.




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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this 14th day of September 2015 caused a copy of the above
 Complaint to be served on Ihe following counsel by certified mail, return receipt requested:

                                    Hon. Loretta E. Lynch
                                      Attorney General
                                   United States of America
                              United States Department ofJustice
                                950 Pennsylvania Ave., N.W.
                                   Washington, D.C. 20530

                                     Hon. Dana J. Boente
                                    United States Attorney
                                  Eastem District of Virginia
                               600 East Main Street, Suite 1800
                                 Richmond, VA 23219-2447




                                           David Haynes
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 DATED: September 14,2015           Respectfiilly submitted.



                                   '^DavidEtHa^esBarLD 41530^
                                    William Atkinson ^
                                    THE COCHRAN FIRM
                                    1100 New York Ave., NW, Suite 340 West
                                    Washington, D.C. 20005
                                    Tel: 202-682-5800
                                    dhaynes@cochranfirm.com
                                    watkinson@cochranfirm.com

                                    Jeanne A, Markey
                                    Gary L. Azorsky
                                    Casey M. Preston
                                    COHEN MILSTEIN SELLERS & TOLL, PLLC
                                    1717 Arch Street, Suite 3610
                                    Philadelphia, PA 19103
                                    Tel: 267-479-5700
                                    jmarkey@coheimiilstein.com
                                    gazorsky@cohenmilstein.com
                                    cpreston@cohenmilstein.com

                                    Counselfor the Relator




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